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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:16-cv-01849

   AIRQUIP, INC.,
   KELLY DASILVA
   AND NICOLE GRAY, on behalf of
   themselves and all others similarly situated,

          Plaintiffs,

   v.

   HOMEADVISOR, INC.,
   IAC/INTERACTIVECORP, and
   DOES 1 through 10,

          Defendants.


        AMENDED CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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            Plaintiffs Airquip, Inc., Kelly DaSilva and Nicole Gray (collectively, the “Plaintiffs”), by

   and through their counsel, bring this class action on behalf of themselves and a proposed class of

   all   others   similarly situated,   against   Defendants    IAC/InterActiveCorp      (“IAC”)    and

   HomeAdvisor, Inc. (“HomeAdvisor”). Plaintiffs make the following allegations based upon

   personal knowledge as to themselves and their own acts, and upon information and belief as to

   all other matters, based upon, inter alia, the investigation undertaken by their counsel through

   public records, the accounts of homeowners who were contacted by home service professionals,

   the accounts of home service professionals, interviews of former employees of Defendants IAC

   and HomeAdvisor, and IAC’s filings made with the Securities and Exchange Commission

   (“SEC”). Plaintiffs allege as follows:

                                        NATURE OF THE CASE

            1.     IAC, a media and Internet company, claims that its operating business

   HomeAdvisor is a leading nationwide home services digital marketplace that helps connect

   consumers and homeowners (collectively “Homeowners”) with persons and businesses in the

   HomeAdvisor network who provide home improvement services (the “Home Service

   Professionals”).

            2.     Defendants charge the Home Service Professionals, like Plaintiffs and the Class,

   an annual membership fee (including for HomeAdvisor’s Pro ConnectTM, Total ConnectTM, and

   the predecessor and subsequent membership programs (hereinafter, the “Membership

   Programs”)).       Upon payment for the Membership Program, Plaintiffs and the Class receive

   purported “qualified new business opportunities (ProLeads)” (the “Leads”) from HomeAdvisor.




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   The cost of the Leads are not included in the Membership Program fee. Instead, Home Service

   Professionals must pay for each individual Lead sent to them, sight unseen.

            3.   IAC and HomeAdvisor have been taking any measure conceivable to pump up

   and inflate HomeAdvisor’s earnings during at least the prior three years. IAC has told the

   investing public that HomeAdvisor is its big-revenue generator and a growth business, and

   appears to be positioning HomeAdvisor as its next spin-off.

            4.   IAC and HomeAdvisor’s revenue is driven by the Home Service Professionals.

   To investors and analysts, IAC touts HomeAdvisor’s record increase in the number of “Paying

   SPs” – paying Home Service Professionals – over time, as depicted in this chart prepared by IAC

   as of June 30, 2016:




   Source:        http://files.shareholder.com/downloads/IACI/2476416435x0x901680/2D24D5E2-

   D8AF-4550-A942-597D7B85BFE7/Q2_2016_Shareholder_Letter.pdf

            5.   Specifically, on the backs of Home Service Professionals, HomeAdvisor’s growth

   has been exponential year-to-year:




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                  HomeAdvisor       Paying Home Service                    % Revenue Increase
                   Year Ended           Professionals        Revenue        Over Prior Year
                December 31, 2015         102,000          $361,201,000           27%
                December 31, 2014          85,000          $283,541,000           18%
                December 31, 2013          80,000          $239,417,000      (not reported)


             6.      And, in 2016, as of September 30, 2016, the record growth has continued:

   HomeAdvisor revenue increased 34%, driven primarily by a 39% increase in HomeAdvisor

   domestic revenue due to a 48% increase in Paying Home Service Professionals to 137,000.

   HomeAdvisor’s operating income as of September 30, 2016 had increased 110% and adjusted

   EBITDA (Earnings Before Interest, Taxes, Depreciation and Amortization) increased 79% due

   to the higher revenue, notwithstanding increases in selling and marketing expenses, among other

   things.

             7.      The significant growth in Paying Home Service Professionals and the

   corresponding sharp increase in revenue have been built on a fraudulent scheme that has been

   and continues to be perpetrated on the Home Service Professionals.

             8.      The Home Service Professionals have been defrauded into purchasing a

   HomeAdvisor membership, thereby enabling HomeAdvisor to automatically deduct hundreds or

   thousands of dollars from each of the Home Service Professionals’ bank accounts when they are

   sent sham Leads. Not content with creating and implementing this automatic bank account

   deduction model, if a Home Service Professional challenges HomeAdvisor’s conduct and

   entitlement to payment, HomeAdvisor sends the matter to a collection agency hired by

   HomeAdvisor and IAC. The substantial economic and monetary benefits that have and will

   inure to the executives of IAC and HomeAdvisor are the product of the costly fraud inflicted on

   the Home Service Professionals.       At bottom, motivation and end-game aside, IAC and

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   HomeAdvisor have exponentially increased the number of Home Service Professionals, who are

   the source of HomeAdvisor’s revenue, while utterly failing to supply them with the promised

   product and service.

            9.       Defendants market HomeAdvisor’s services and ProLeadsTM as providing Home

   Service Professionals with Leads that are characterized as: targeted, serious, qualified and

   project-ready Homeowners; qualified business opportunities for the Home Service Professionals;

   and only sent to up to four Home Service Professionals. For example, see infra ¶¶ 62, 66-79,

   Defendants state that:

                 •   “When you’re a HomeAdvisor Pro member, HomeAdvisor matches you with
                     homeowners actively seeking the services you provide…”;

                 •   “Get connected to qualified homeowners who are seeking the services you
                     provide. You will receive homeowner contact and service request information so
                     that you can reach out to close the deal.”;

                 •   “You’ll also get a listing in our online directory…access to helpful business
                     management and marketing tools, and qualified new business opportunities (Pro
                     Leads) to keep your pipeline full.”;

                 •   HomeAdvisor “allows you to spend your time with the right ‘ready-to-buy’
                     customers”;

                 •   the Leads are from “project ready” Homeowners;

                 •   “we find homeowners looking for help completing home projects and collect
                     information about their project. Our patented ProFinder technology then
                     identifies relevant professionals, taking into account our pros' availability, service
                     type and locations preferences. When we have a match, we send the homeowner's
                     information to the matched pro instantly so that he/she can win the job.”;

                 •   the Leads are generated from the purported “patented pro finder technology” that
                     matches Home Service Professionals “to serious homeowners in [the Home
                     Service Professional’s] area”;




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                  •   a “vast majority of [HomeAdvisor’s] homeowners and consumers come to
                      [HomeAdvisor] through homeadvisor.com.           We also have the exclusive
                      partnerships with the websites [ ] such as Better Homes and Gardens and This
                      Old House…”;

                  •   the Leads are for “targeted prospects” and “highly targeted prospects”;

                  •   Home Service Professionals “won't have to waste [ ] time with customers who
                      just window-shop”; and,

                  •   Leads are only sent to up to four Home Service Professionals.

            10.       Quality Leads are the lifeblood of the HomeAdvisor model. The identification and

   delivery of quality Leads are supposed to be the essential service components of HomeAdvisor’s

   business for Home Service Professionals. The receipt of quality Leads is the reason Plaintiffs

   and other Home Service Professionals pay for a Membership Program and agree to pay, sight

   unseen, for the Leads.        As HomeAdvisor’s own marketing materials recognized, poor and

   unproductive Leads were a waste of Home Service Professionals’ money and resources.

   Delivery of quality Leads to Plaintiffs and the Class was the most material aspect of the business

   arrangement between them.

            11.       Defendants, however, misled the Home Service Professionals about the nature

   and quality of the Leads and failed to disclose material information about HomeAdvisor’s Lead

   generating and vetting processes. Defendants did not generate a vast majority of the Leads

   through the HomeAdvisor website using ProLeads and/or ProFinder, and, moreover, did not

   employ the filtering and “three-step vetting process” measures that were supposed to garner

   qualified Leads for the Class.

            12.       Plaintiffs and the Class are not receiving Leads constituting targeted, serious,

   qualified or project-ready Homeowners. An overwhelming number of Leads are the product of


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   Defendants’ systemically flawed system and process, and are illusory as they are characterized

   by: wrong or disconnected phone numbers and contact information; persons who never heard of

   HomeAdvisor; stale Leads, including for projects that Homeowners completed months or years

   prior to the Lead being sent; contacts for homes that were listed for sale; and contacts for vacant

   or non-existent residences. In reality, the Leads are the product of telemarketing, cold-calling,

   sweepstake entries and other third-party Lead generation companies and sources used by

   Defendants, a far cry from a process that could be calculated to generate Leads that constitute

   qualified, project-ready Homeowners.

            13.   Defendants’ systemic deception and fraudulent business practices were confirmed

   in filings in a lawsuit against HomeAdvisor and in which HomeAdvisor sought to disassociate

   itself from liability for violations of the Telephone Consumer Protection Act (“TCPA”) arising

   from unsolicited telemarketing allegedly committed by a third-party that generated Leads

   purchased by HomeAdvisor. The TCPA lawsuit confirms and validates the numerous and

   consistent complaints of Class Members (as well as former HomeAdvisor employees) that

   HomeAdvisor’s business model is a scam and that the Leads it provides to Class Members are

   largely unvetted by HomeAdvisor, secured by affiliates and third-parties using highly

   questionable methods, and predominantly bogus. HomeAdvisor’s admissions provide direct

   evidence of the deception and fraud perpetrated by HomeAdvisor on Plaintiffs and the Class.

            14.   In addition, Plaintiffs and the Class frequently received Leads that had been sent

   to, in many instances, substantially more than four Home Service Professionals, in clear violation

   of the Defendants’ express operating conditions. Defendants’ motivation for not adhering to the

   “no more than four” condition is apparent: collection of fees from as many Class members as


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    possible for the same Leads. In sum, Defendants’ business model is built on a framework of

    deception that maximizes Defendants’ business revenues at the expense of Plaintiffs and the

    Class.

             15.      Defendants’ deceptive and fraudulent practices do not end with their charging

    Plaintiffs and the Class Members for bogus Leads. Defendants have adopted fundamentally

    unfair business practices in all aspects of their dealings with Class Members, including the

    following:

                   (a) Soliciting new members for Membership Programs by using heavy-handed and

                      coercive means, including the threat of posting bad reviews for prospective Home

                      Service Professionals that refused to join HomeAdvisor.

                   (b) Consistently violating stated assurances that Leads will be delivered to no more

                      than four Home Service Professionals.           Both Class Members and the

                      Homeowners who constitute the Leads have reported the systemic failure of

                      Defendants to adhere to this material term with respect to the dissemination of the

                      Leads.

                   (c) Embedding another of HomeAdvisor’s products called “mHelpDesk” into its

                      service, and charging Class Members an additional monthly fee, without notice,

                      explanation, or authorization.

                   (d) Adopting uniform internal procedures intended to deny and discourage refunds

                      and/or Lead credits when Class Members sought reimbursement for bogus Leads.

                   (e) Notwithstanding their having professed to the Home Service Professionals that

                      “You’re In Control” of the type and volume of Leads, and the Lead budget,


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                   Defendants blatantly disregard such parameters and systematically surpass the

                   spend ceilings established by the Home Service Professionals.

             16.   The cost to the Home Service Professionals is substantial. The initial annual fees

    for the Membership Programs currently range from $347.98 to $959.99. The fees for Leads,

    which can range from $8 to over $90 per Lead, are paid by the Home Service Professionals

    automatically upon the sending of each Lead to them by HomeAdvisor. Moreover, the Lead fee

    is paid “regardless of whether the professional ultimately provides the requested service”. (IAC

    Annual Report on Form 10-K for the Fiscal Year Ended 12/31/2015).

             17.   Further, in order to effectuate this payment system, the Home Service

    Professionals are required to provide either a checking / savings account from which Defendants

    can automatically debit all Membership Fees and Lead fees, or a credit card on which

    Defendants can automatically charge such fees.      On a weekly basis, Defendants automatically

    bill the Home Service Professionals for each Lead sent. The fee for each Lead is automatically

    charged to the Home Service Professionals’ credit card and/or debited from his/her/its debit

    account. Therefore, Class Members who disputed any charge are in the position of having

    already paid Defendants, rendering it much more difficult to secure a refund. And, Class

    Members who have had to close out their checking and savings accounts to stop IAC and

    HomeAdvisor from running the accounts dry, are sent to collections.

             18.   Consequently, the viability, accuracy, seriousness, quality and limited distribution

    of each Lead are material to the Home Service Professional.

             19.   Defendants’ former employees have confirmed the fraud.           In sum: take any

    measure necessary, including deceit, to sign up Home Service Professionals; process the


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    membership fee; and start billing for as many Leads as possible, irrespective of the nature of the

    Leads. The HomeAdvisor sales representatives had to sign up Home Service Professionals and

    meet demanding sales goals, or get fired.                  Defendants’ former employees describe

    HomeAdvisor’s culture and sales practices as follows:

                   •   “Calling this place hell on earth is an insult to actual hell…it’s that bad!”

                   •   “It’s a horrific environment. We were treated like expendable pieces of crap.”

                   •   “It was unbelievable how we would bully the contractors to sign them up.”

                   •   “I constantly heard sales reps blatantly lying to Service Professionals just to get
                       them to sign up.” [sic].

                   •   “The more crooked you are internally, the more they [management] will turn their
                       heads as long as you are making the sale.”

                   •   A Senior Sales Executive based in Denver, Colorado “encourages an environment
                       [ ] where his managers [ ] will train the new employees to LIE to contractors just
                       to get a sale.” [sic].

             20.       As a result of Defendants’ unfair, deceptive and fraudulent business practices,

    Plaintiffs and Class Members have suffered the loss of an ascertainable amount of money.

    Defendants have operated a scheme designed to bestow significant financial benefits upon

    themselves to the detriment of Plaintiffs and the Class. Had Defendants not concealed and

    falsely characterized the true nature of the Membership Programs and the Leads, Plaintiffs and

    the Class would not have paid money for the Membership Programs and the Leads.

             21.       On behalf of themselves and the Class, Plaintiffs state a cause of action under the

    Racketeer Influenced and Corrupt Organizations Act (“RICO Statute”), 18 U.S.C. § 1962(c),

    alleging that the Defendants created an enterprise and/or an association-in-fact enterprise

    designed to mislead and deceive Home Service Professionals through the use of the United

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    States wires. In addition, on behalf of themselves and the Class, Plaintiffs seek injunctive relief

    pursuant to the Colorado Consumer Protection Act ("CCPA"), COLO. REV. STAT. § 6-1-101,

    et seq. Furthermore, on behalf of themselves and the members of the Class, Plaintiffs state

    claims for fraud and fraudulent concealment, breach of implied contract, and unjust

    enrichment/restitution.

             22.    On behalf of the members of the Class, Plaintiffs seek damages and equitable

    relief, including but not limited to: treble their monetary damages; restitution; injunctive relief;

    punitive damages; costs and expenses, including attorneys’ and expert fees; interest; and any

    additional relief that this Court determines to be necessary or appropriate to provide complete

    relief to Plaintiffs and the Class.

                                                    PARTIES

             The Plaintiffs

             23.    Plaintiff Airquip, Inc. (“Airquip”) is a certified Trane Comfort SpecialistTM

    Dealer corporation with its principal place of business located at 830 Linden Avenue, Rochester,

    New York. Plaintiff Airquip paid for a Pro ConnectTM membership with HomeAdvisor on or

    about September 16, 2015, and was thereafter charged by HomeAdvisor for over 150 Leads. As

    a result of the conduct described herein, Plaintiff Airquip was injured.

             24.    Plaintiff Kelly DaSilva (“DaSilva”) is the owner and operator of Marble Doctors

    LLC which specializes in marble installation, care and restoration services. Plaintiff DaSilva’s

    principal place of business is located at 7777 Glades Road #100, Boca Raton, Florida. Plaintiff

    DaSilva paid for a HomeAdvisor Pro ConnectTM membership on or about November 5, 2015,




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    and was thereafter charged by HomeAdvisor for approximately 40 Leads. As a result of the

    conduct described herein, Plaintiff DaSilva was injured.

             25.   Plaintiff Nicole Gray (“Gray”) is the owner and operator of J.O.N.E.S. Way

    Cleaning Company which specializes in cleaning and janitorial services. Plaintiff Gray’s

    principal place of business is located at 5531 W 35th Street, Indianapolis, Indiana. Plaintiff Gray

    paid for a HomeAdvisor Pro ConnectTM membership on or about February 4, 2016, and was

    thereafter charged by HomeAdvisor for over 170 Leads. As a result of the conduct described

    herein, Plaintiff Gray was injured.

             The Defendants

             26.   Defendant HomeAdvisor, Inc. is a corporation organized and in existence under

    the laws of the State of Delaware with its principal place of business located at 14023 Denver

    West Parkway, Building 64, Suite 200, Golden, Colorado. HomeAdvisor was founded and

    launched in October 1999 as ServiceMagic in Golden, Colorado, and acquired by Defendant IAC

    in September 2004 for an undisclosed amount.               On October 1, 2012, IAC rebranded

    ServiceMagic and launched it as HomeAdvisor. HomeAdvisor is an operating business of IAC.

             27.   Defendant IAC is a corporation organized and in existence under the laws of the

    State of Delaware with its principal place of business located at 555 West 18th Street, New York,

    New York. IAC is a media and Internet company that owns more than 20 operating businesses

    comprising over 150 brands and products, including HomeAdvisor and some other recognized

    brands, such as Vimeo, About.com, and the Match Group’s online dating portfolio, which

    includes Match, OkCupid, and Tinder. IAC is the parent company and majority shareholder of

    HomeAdvisor. In the fourth quarter of 2015, IAC realigned itself into six reportable segments:


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    HomeAdvisor, Match Group, Publishing, Applications, Video and Other. IAC generated over $3

    billion in revenue in 2015.

             28.   The true names and capacities of the defendants sued herein as DOES 1 through

    10, inclusive, are currently unknown to Plaintiffs, who therefore sue such defendants by such

    fictitious names. Each of the defendants designated herein as a DOE is legally responsible in

    some manner for the unlawful acts referred to herein. Plaintiffs will seek to add to this Complaint

    the actual names, capacities and roles of the DOE defendants when such identities become

    known.

                                  DEFENDANTS’ FORMER EMPLOYEES

             29.   Numerous former employees of HomeAdvisor contacted Plaintiffs’ Counsel with

    respect to this litigation. This Amended Complaint contains allegations based on information

    provided by some of these former employees, who are treated herein as Confidential Witnesses.

             30.   Former Employee A: Former Employee A worked for HomeAdvisor for

    approximately three years.    Prior to departing, he held the position of a customer service

    manager for a year and a half at HomeAdvisor’s headquarters located in Golden, Colorado.

             31.   Former Employee B:           Former Employee B was a HomeAdvisor sales

    representative in Colorado Springs, Colorado for approximately ten months before departing

    HomeAdvisor in October 2016.

             32.   Former Employee C:           Former Employee C was a HomeAdvisor sales

    representative at HomeAdvisor’s headquarters in Golden, Colorado for approximately five

    months before leaving HomeAdvisor in October 2016.




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             33.    Former Employee D: Former Employee D was a HomeAdvisor sales

    representative at HomeAdvisor’s headquarters in Golden, Colorado for approximately a year and

    a half before resigning in June 2016.

             34.    Former Employee E:            Former Employee E was a HomeAdvisor sales

    representative at HomeAdvisor’s headquarters in Golden, Colorado for approximately seven

    months before resigning in June 2016.

                                      JURISDICTION AND VENUE

             35.    This Court has original federal question jurisdiction pursuant to 28 U.S.C. § 1331

    because Plaintiffs’ claims arise under the RICO Statute, 18 U.S.C. § 1961-1968.

             36.    This Court also has original jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)

    because: (i) there are 100 or more members of the Class; (ii) there is an amount in controversy

    that exceeds the sum or value of five million dollars ($5,000,000), exclusive of interest and costs;

    (iii) the members of the Class are citizens of states different from Defendants; and, (iv) greater

    than two-thirds of the Class Members reside in states other than the state in which Defendants

    are citizens.

             37.    This Court has personal jurisdiction over Defendants because they are authorized

    to do business and are conducting business throughout the United States, including Colorado,

    and HomeAdvisor’s principal executive offices, located in Golden, Colorado.

             38.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

    substantial part of the events giving rise to the claims occurred in this District, Defendants are

    authorized to conduct business in this District, and Defendants regularly conduct and transact

    business in this District and are therefore subject to personal jurisdiction in this District.


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                                                  FACTS

    I.       IAC AS A “CENTRAL FLYWHEEL”.

             39.     Barry Diller is IAC’s founder and currently its Chairman and Senior Executive.

    In addition, Mr. Diller, members of Mr. Diller's family and trusts for the benefit of Mr. Diller's

    family, beneficially own all of the 5,789,499 outstanding shares of IAC Class B common stock

    and 193,407 shares of IAC common stock, collectively representing approximately 44% of the

    total outstanding voting power of IAC and approximately 7.5% of the total outstanding economic

    interests of IAC, as of October 27, 2016.

             40.     Mr. Diller touts his “unique business model” for IAC, which is to, “[b]uy digital

    businesses, fold them into a conglomerate and then spin [them] out ….” See, The New York

    Times,       DealBook,   “Barry    Diller’s   Business    Model    Bears     Fruit”,   11/23/2015,

    http://www.nytimes.com/2015/11/24/business/dealbook/barry-dillers-business-model-bears-

    fruit.html?_r=0 (last visited 11/2/2016). Mr. Diller runs IAC as a “sort of ‘central flywheel’ to

    create, buy and finance companies to later be spun out.” Since the mid-2000s, IAC has been “a

    minifactory of spinoffs. ‘I’m really an anti-conglomerateur,’ Mr. Diller said.” Id.

             41.     IAC is like a business incubator. It has acquired, developed and spun off media

    and internet businesses including Expedia, TripAdvisor, HSN, LendingTree.com and the Match

    Group. Continuing that business model, on October 5, 2015, IAC’s CEO Joey Levin approached

    the President and CEO of Angie’s List, a HomeAdvisor competitor, regarding a potential

    combination.       http://www.insideindianabusiness.com/ story/30536339/angies-list-says-no-to-

    iac-offer (last visited 11/2/2016). Then, on October 23, 2015 and on November 11, 2015, Mr.




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    Levin sent letters to Angie’s List’s board proposing to acquire Angie’s List for $8.50 and $8.75

    per share in cash, respectively. Id. Angie’s List’s board unanimously rejected the proposals. Id.

             42.   Notably though, the November 11, 2015 letter from IAC, made public by IAC,

    stated that “we are also prepared to discuss a combination of Angie's List with our

    HomeAdvisor business…..” http://www.prnewswire.com/news-releases/iac-proposes-to-acquire-

    angies-list-for-875-per-share-300177032.html (emphasis added) (last visited 11/3/2016).

             43.   Analysts and IAC shareholders have been, according to Mr. Levin, demanding “a

    timeline for the next spinoff”.     IAC Q2 2016 Shareholder Letter, dated July 27, 2016.

    http://files.shareholder.com/downloads/IACI/247 6416435x0x901680/2D24D5E2-D8AF-4550-

    A942-597 D7B85BFE7/ Q2_2016_ Shareholder_ Letter.pdf (last visited 11/3/2016). Such goal

    was affirmed in Forbes’ recent release of its “40 Under 40”, which reported that Mr. Levin is

    seeking ways to spin off the company’s digital businesses, which includes HomeAdvisor.

    http://fortune.com/40-under-40/joey-levin-11/ (last visited 11/3/2016).

             44.   By all accounts, it appears that IAC’s next spin off will be HomeAdvisor. In

    order to accomplish that, IAC and HomeAdvisor have been undertaking to report and sustain

    purported “record” growth at HomeAdvisor. Such purported growth however, has been built on

    a fraudulent business model, and has been achieved at the expense, livelihoods, and on the backs

    of Home Service Professionals.

    II.      HOMEADVISOR’S “RECORD” GROWTH.

             45.   IAC has been the parent company and majority shareholder of HomeAdvisor

    since 2004. In IAC’s SEC filings and press releases, and in the statements by its officers,




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    HomeAdvisor is referred to as an operating business, segment, and wholly owned subsidiary of

    IAC.

             46.    IAC executives oversee and direct the HomeAdvisor business. For instance, in

    February 2012, Jeff Kip became IAC’s Executive Vice President and Chief Financial Officer. In

    April 2016, IAC acknowledged that Mr. Kip had been “a key contributor in HomeAdvisor's

    success” and that, with Mr. Kip being succeeded by Glenn Shiffman, Mr. Kip would “oversee

    the international expansion of the HomeAdvisor business.” (IAC Appoints Glenn H. Schiffman

    as Chief Financial Officer, PR Newswire, 4/7/16).

             47.    In addition, IAC makes significant capital and other expenditures in connection

    with HomeAdvisor.         Since 2013, IAC has made capital contributions to HomeAdvisor of

    approximately $80 million for marketing and approximately $150 million to increase the

    salesforce.    (IAC     Q1    2016    Shareholder      Letter,   5/4/16   http://files.shareholder.com/

    downloads/IACI/2419670841x0x889889/8E4DCC2D-13E3-4535-BB85-70C6D3CBD05C/

    Q1_2016_Shareholder_Letter.pdf) (last visited 11/7/2016).

             48.    IAC also establishes and directs HomeAdvisor’s business strategies and

    operations. For example, for 2016, IAC established the following priorities for HomeAdvisor:

                    •     “Grow brand awareness, primarily through marketing”
                    •     “Add SPs [Home Service Professionals], primarily through our sales force”
                    •     “Innovate the product, primarily through Instant Connect and Instant Booking,
                          especially on mobile”
                    •     “Expand internationally, where we’ve moved Jeff Kip to bring a renewed
                          focus on the opportunity”
    (Id. IAC Q1 2016 Shareholder Letter, 5/4/16).
             49.    HomeAdvisor employees are directed, managed and/or employed by IAC.

    According to IAC’s career website page (http://iac.com/careers/overview), individuals interested

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    in joining the “IAC team” have the option to explore the jobs available at IAC’s 20 plus

    operating businesses. The jobs available through IAC’s operating businesses also include IAC

    benefits, such as the “IAC Retirement Plan” and health benefits. IAC is responsible for the Form

    5500 filings for both the retirement savings plan and the health and welfare benefit plan.

    HomeAdvisor does not make any such filings.

             50.      IAC has reported that, under its direction and control, HomeAdvisor has been

    transformed from an unprofitable business to one that IAC reports as its fastest-growing and

    most         profitable    segment.        (IAC   Q1     2016        Shareholder    Letter,    5/4/16

    http://files.shareholder.com/downloads/IACI/2419670841x0x889889/8E4DCC2D-13E3-4535-

    BB85-70C6D3CBD05C/Q1_2016_Shareholder_Letter.pdf) (last visited 11/7/2016).

             51.      In 2012, Chris Terrill was hired as HomeAdvisor’s new Chief Executive Officer.

    During IAC’s October 24, 2012 Q3 2012 earnings call, Mr. Kip, IAC’s then-Executive Vice

    President and Chief Financial Officer, noted the expected growth in HomeAdvisor for 2013, and

    Mr. Diller noted that he was “very impressed thus far and I will have to see but I can't imagine, I

    shouldn’t say it that way – I have big expectations for the growth of HomeAdvisor over the

    next years.” Source: http://seekingalpha.com/article/947591-iac-interactivecorps-ceo-discusses-

    q3-2012-results-earnings-call-transcript?part=single (emphasis added) (last visited 11/7/2016).

             52.      Early in 2013, on its May 1, 2013 Q1 2013 earnings call, Mr. Kip noted that

    IAC’s revenue growth was offset by HomeAdvisor’s underperformance, which was “driven by

    some         technical    glitches    in    the   rebranding    of     the    service”.       Source:

    http://seekingalpha.com/article/1389861-iac-interactivecorp-management-discusses-q1-2013-

    results-earnings-call-transcript?part=single (last visited 11/7/2016).


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             53.   In its July 31, 2013 Q2 2013 earnings call, IAC deemed 2013 a transition year for

    HomeAdvisor, and highlighted their “working on rolling out some alternate business models to

    help make the business stickier with our service professionals.” As Gregory R. Blatt, IAC’s

    then Chief Executive Officer and Director, highlighted about HomeAdvisor,

                   It's growing now. We're -- simultaneously with the consumer side of the rebrand,
                   we've been working hard on the service provider side in terms of developing new
                   business model alternatives, subscription products, et cetera, to go along with the
                   traditional regeneration model, which, we think, makes it stickier. And we expect
                   momentum to continue to build. Clearly, the first 6 months, were rockier than we
                   expected with the rebrand. And some of that was by our own hands, some of it is
                   just the nature of these things. But we think that's behind us, and we think the stuff
                   on the SP [Home Service Professional] side is promising. So we see momentum
                   coming out of the year.

    Source: http://seekingalpha.com/article/1590082-iac-interactivecorp-management-discusses-q2-

    2013-results-earnings-call-transcript?part=single (emphasis added) (last visited 11/7/2016).

             54.   “Stickier” and “momentum”, indeed:

                   (a) During the April 30, 2014 Q1 2014 earnings call, IAC was able to report its

                       “first quarter of double-digit revenue growth since the first quarter of 2012,

                       and its first quarter of double-digit EBITDA growth since the third quarter of

                       2012. Additionally…active [Home Service Professionals] grew 15% year-

                       over-year”. Source: http://seekingalpha.com/article/2177683-iac-interactive

                       corp-management-discusses-q1-2014-results-earnings-calltranscript?          part=

                       single (last visited 11/7/2016).

                   (b) During the October 29, 2014, Q3 2014 earnings call, IAC, and Mr. Kip

                       specifically, reported that HomeAdvisor’s revenue increased 20% versus the

                       prior year, and that the number of paying Home Service Professionals was


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                      up    nearly   30%     year-on-year     in   the   third     quarter.       Source:

                      http://seekingalpha.com/article/2611655-iac-interactivecorp-iaci-q3-2014-

                      results-earnings-call-transcript?part=single (emphasis added) (last visited

                      11/7/2016).

                   (c) During the February 4, 2015, Q4 2014 earnings call, IAC reported that

                      HomeAdvisor was profitable, with almost $300 million in revenue, and with

                      growth expected to continue in the 20%-30% range in 2015.                   Source:

                      http://seekingalpha.com/article/      2884126-iac-interactivecorp-iaci-q4-2014-

                      earnings-call-transcript?part=single (last visited 11/7/2016).

                   (d) During the Q3 2015 earnings call on October 27, 2015, Mr. Kip highlighted

                      and confirmed that HomeAdvisor’s growth is tied to the Home Service

                      Professionals: “so we just got crossed [sic] 100,000 service professionals last

                      week, which is a huge milestone for us and we crossed it faster than we

                      thought”; “the engagement and spend from the average service professional

                      is up significantly year-over-year ……and it is those guys [the Home Service

                      Professionals] who are supplying the revenue and fulfilling the customers

                      and    that    the   SP     network     is   the   biggest       driver.”   Source:

                      http://seekingalpha.com/article/3609106-iac-interactivecorp-iaci-ceo-joey-

                      levin-q3-2015-results-earnings-call-transcript?part=single (emphasis added)

                      (last visited 11/7/2016).

             55.   Moreover, HomeAdvisor’s salesforce has been increased exponentially. As of

    September 2016, Mr. Terrill touted that the salesforce had expanded 46% over the prior year.


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    See, Change is way of life for HomeAdvisor’s Chris Terrill; Denver Business Journal,

    http://www.bizjournals.com/ denver/news/2016/09/23/change-is-way-of-life-for-homeadvisor-s-

    chris.html. The sole impetus for expanding the salesforce was to acquire more paying Home

    Service Professionals. As Mr. Levin reported in his Q1 2016 Shareholder Letter to investors,

    dated May 4, 2016, he expected HomeAdvisor to deliver closer to 150% adjusted EBITDA for

    2016, rather than the 100% they earlier predicted, and stated that a priority for 2016 was to add

    Home Service Professionals through the salesforce.

             56.      Consequently, IAC has experienced an incredible increase in the number of

    “Paying SPs” - paying Home Service Professionals – over time, as depicted in this chart

    prepared by IAC as of June 30, 2016:




    Source:           http://files.shareholder.com/downloads/IACI/2476416435x0x901680/2D24D5E2-

    D8AF-4550-A942-597D7B85BFE7/Q2_2016_Shareholder_Letter.pdf (last visited 11/7/2016).

             57.      Consequently, HomeAdvisor’s growth have been exponential year-to-year:

                   HomeAdvisor        Paying Home Service                     % Revenue increase
                    Year Ended            Professionals        Revenue         over prior year
                 December 31, 2015          102,000          $361,201,000            27%
                 December 31, 2014           85,000          $283,541,000            18%
                 December 31, 2013           80,000          $239,417,000       (not reported)



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             58.   As of September 30, 2016, the record growth has continued: HomeAdvisor

    revenue increased 34%, driven primarily by a 39% increase in HomeAdvisor domestic revenue,

    due to 48% growth in paying Home Service Professionals to 137,000.             HomeAdvisor’s

    operating income as of September 30, 2016 had increased 110% and adjusted EBITDA increased

    79% due to the higher revenue, notwithstanding increases in selling and marketing expenses,

    among other things.

             59.   In IAC’s Q3 2016 shareholder letter, dated November 2, 2016, Mr. Levin hyped

    HomeAdvisor’s record quarter: “HomeAdvisor also had another record quarter with domestic

    revenue growing 39% and a new record Adjusted EBITDA, up nearly 80% year over

    year…[T]he [Home Service Professional] network was up nearly 50% year over year again…To

    put this growth in perspective, since we offered to acquire Angie’s List in Q3 of last year, we

    have added a net number of service professionals roughly equivalent to the size of Angie’s

    [List’s] entire network.”    Source: http://files.shareholder.com/downloads/IACI/ 2419670841

    x0x915248/8A989FB7-9FBD-4267-971A-7652B3932415/Q3_2016_Shareholder_Letter.pdf

    (emphasis added) (last visited 11/7/2016).

    III.     HOMEADVISOR PRODUCTS SOLD TO HOME SERVICE PROFESSIONALS.

             60.   Since October 2013, HomeAdvisor has been marketing and selling three

    subscription offerings to Home Service Professionals. The basic Membership Program includes

    membership in its network of Home Service Professionals, as well as a listing in HomeAdvisor’s

    online directory. The two additional Membership Programs include all of the basic Membership

    Program services, plus Leads and, in the case of one Membership Program, custom website and




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    mobile development and hosting services, as well as integration with another of HomeAdvisor’s

    products called “mHelpDesk”.

             61.   Home Service Professionals must generally sign up for one of the subscription

    products described above. As of December 31, 2015, approximately 93% of the roughly 102,000

    domestic paying Home Service Professionals within HomeAdvisor’s network paid for a

    Membership Program.

             A.    The Membership Programs.

             62.   To become a HomeAdvisorSMPRO, a Home Service Professional pays for a

    Membership Program, which during relevant times were presented by HomeAdvisor as follows:




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    See http://welcome.homeadvisor.com/membership/packages-93SW-3320VD.html (last visited

    6/29/2016).

             63.   The pricing for Membership Programs were further described during relevant

    times as follows:




    See http://welcome.homeadvisor.com/membership/packages-93SW-3320VD.html (last visited

    6/29/2016).


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             64.   And, as follows:




    See http://welcome.homeadvisor.com/membership (last visited 7/11/2016).

             65.   The pricing structure of the Membership Programs is tactical: membership in Pro

    ConnectTM or Total ConnectTM includes access to ProLeadsTM plus all the benefits of the basic

    Pro ReachTM membership, but at an ostensibly lower up-front cost. As a result, the vast majority

    of Home Service Professionals select either Pro ConnectTM or Total ConnectTM since those

    Membership Programs appear to deliver the most cost-effective benefits.

             B.    ProLeadsTM

             66.   Defendants state that with ProLeadsTM, Home Service Professionals will “Get

    connected to qualified homeowners who are seeking the services you provide. You will receive

    homeowner contact and service request information so that you can reach out to close the deal.”

    See supra ¶62 (second screenshot).

             67.   In consideration for the payment of hefty Membership Program annual fees and

    Lead fees, Home Service Professionals are to receive “highly targeted prospects”, and have the
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    ability to monitor and precisely budget their “spend targets and spend ceilings” on Leads. See

    HomeAdvisorPro website, “How it works,” at https://pro.homeadvisor.com/how-it-works/ (last

    visited 7/12/2016).

             68.   Home Service Professionals are paying for highly targeted prospects, which is

    how such Leads are repeatedly described by Defendants: “Over 30 million homeowners have

    trusted HomeAdvisor to help them find quality pros with the expertise to turn their home

    improvement dreams into reality. It's just one of the reasons you can depend on us to bring you

    highly targeted prospects that will grow your business. Getting started is easy.”

    https://pro.homeadvisor.com/how-it-works/ (last visited 6/28/2016) (emphasis added). This

    message appears prominently on the HomeAdvisor Pro website:




             69.   Defendants are supposed to deliver Leads to Home Service Professionals that are

    from serious, project-ready Homeowners and are targeted to the Home Service Professionals’




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    business and geographic reach, and Defendants are to send such Leads to a limited number of

    Home Service Professionals.

             70.      The arrangement and the terms of the service provided to Home Service

    Professionals are unequivocal:

                   (a) “Home Advisor is the number 1 marketplace for project ready homeowners to

                      connect         with    prescreened        pros.”            HomeAdvisor       video,

                      https://youtube/bOxwhpnxU5g (last viewed 6/29/2016).

                   (b) “[W]ith Home Advisor’s patented pro finder technology you are only matching

                      to serious homeowners in your area. Home Advisor then instantly connects you

                      over      the      phone,     via        email…..”           HomeAdvisor       video,

                      https://youtube/bOxwhpnxU5g (last viewed 6/29/2016) (emphasis added).

                   (c) “Connect with the Targeted Prospects You Need to Succeed. Tell us what you do

                      and where, and we deliver prospects that meet your exact needs.”

                      https://pro.homeadvisor.com/ (last visited 6/29/16) (emphasis added).

                   (d) “How It Works         Over 30 million homeowners have trusted HomeAdvisor to

                      help them find quality pros with the expertise to turn their home improvement

                      dreams into reality. It's just one of the reasons you can depend on us to bring

                      you    highly      targeted   prospects     that     will   grow   your    business.”

                      https://pro.homeadvisor.com/ (last visited 6/29/16) (emphasis added).

                   (e) “Q. How does HomeAdvisor work? A. First we find homeowners looking for

                      help completing home projects and collect information about their project. Our

                      patented ProFinder technology then identifies relevant professionals, taking into


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                      account our pros' availability, service type and locations preferences. When we

                      have a match, we send the homeowner's information to the matched pro instantly

                      so that he/she can win the job.” https://pro.homeadvisor.com/how-it-works/ (last

                      visited 7/7/2016).

                   (f) “There are several ways [Homeowners] can find Service Professionals from

                      HomeAdvisor. Profinder, our service where [Homeowners] request a referral for a

                      specific task, and we refer [Homeowners] to up to four Service Professionals.”

                      http://www.homeadvisor.com/servlet/TermsServlet (last visited 6/29/2016).

             71.      Defendants understood that Plaintiffs and Class Members would deem the

    statements and representations set forth in ¶¶62, 66-70 to be material and that Home Service

    Professionals would reasonably rely on such statements and representations in deciding to join

    HomeAdvisor, and to pay the Membership Program fees and Lead fees.

             72.      As set forth in HomeAdvisor’s Frequently Asked Questions contained on its

    membership webpage, http://welcome.homeadvisor.com/membership (last visited 7/11/2016),

    HomeAdvisor touts that the “benefit from HomeAdvisor Pro membership” are “matches [] with

    homeowners actively seeking the services you provide…”, and “qualified new business

    opportunities (ProLeads) to keep your pipeline full.”




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             73.   Similarly, as set forth in HomeAdvisor’s Frequently Asked Questions contained

    on its Pro help and FAQ webpage, https://pro.homeadvisor.com/help/faqs/ (last visited

    7/11/2016), Defendants acknowledge that the “Benefits of Joining” are “You won’t have to

    waste your time with customers who just window-shop” and it “allows you to spend your time

    with the right "ready-to-buy" customers”:




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             74.   Defendants also explain that the qualified, targeted Leads are generated through

    the HomeAdvisor website, including www.homeadvisor.com/profinder/, whereby Homeowners

    access the Home Service Professionals for home improvements, repairs and maintenance

    projects. Then, Homeowners interested in connecting with a Home Service Professional select

    the requested service and then complete a project inquiry form. Upon completion of the form,

    the homeowner is instantly matched with “up to four local Home Service Professionals who have

    been    background-checked    and   are   qualified   and   available   to   do    to     the    job.”

    http://www.abouthomeadvisor.com/iac-relaunches-servicemagic-as-homeadvisor-the-next-

    generation-of-online-solutions-for-home-improvement-and-repair-projects/          (last         visited

    11/9/2016).

             75.    According to Defendants, as soon as the Homeowner’s request is processed, the

    Homeowner’s contact information is supplied, as a Lead, to the matched Home Service

    Professionals who are then able to contact the qualified, targeted Homeowner concerning the

    project.


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             76.   This same process is described and depicted in the webinar provided by

    HomeAdvisor for its Home Service Professionals at https://pro.homeadvisor.com/articles/

    videos#web-ha-experiencewww.youtube.com (last visited 7/11/2016), and which webinar is also

    available via https://www.youtube.com/watch?v=FB6oLz6abR0 (downloaded 6/29/2016):




             77.   The commentary that accompanies the forgoing depiction of the Lead vetting

    process, is given by Mitch Anderson (who is described as a long-time HomeAdvisor employee

    working in Sales and Operations), who informs Home Service Professionals that the Leads are

    generated through a process whereby the Homeowners “Complete a four page questionnaire

    prior to being matched with one of our Service Professionals. The information we're going to

    request of those homeowners includes geographic information, details unique to the job, the job

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    status as well as the time frame for completion and all homeowner contact information.”

    https://www.youtube.com/watch?v=FB6oLz6abR0 (downloaded 6/29/2016).

             78.   Mitch Anderson also states that a “vast majority of [HomeAdvisor’s] homeowners

    and consumers come to [HomeAdvisor] through homeadvisor.com. We also have the exclusive

    partnerships with the websites [ ] such as Better Homes and Gardens and This Old House…”

    https://pro.homeadvisor.com/articles/videos#web-ha-experiencewww.youtube.com (last visited

    7/11/2016).

             79.   Defendants also inform Home Service Professionals that they can manage and

    monitor the Leads, including, inter alia, that Home Service Professionals have the ability to

    “control the volume” of Leads and “modify spend targets and ceilings any time,” thereby giving

    Service Professionals “full control of [the] budget” through the user-friendly system.    See

    HomeAdvisorPro, “Solutions for Every Business,” at https://pro.homeadvisor.com/how-it-works/

    (last visited 7/11/2016).

             80.   Since Defendants automatically bill credit cards and deduct funds from checking

    accounts of the Home Service Professionals, the ability of Home Service Professionals to set

    caps was material, and Defendants recognized that materiality:




    See https://pro.homeadvisor.com/how-it-works/ (last visited 7/7/2016).

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             81.   However,   Defendants’    former    employees   confirm   that   Home   Service

    Professionals’ monthly Leads budgets were constantly ignored and surpassed, including because

    sales representatives were trained to establish only one monthly spend ceiling when in fact

    HomeAdvisor has two categories of Leads – Market Match and Exact Match – each of which has

    separate budgets.

             82.   HomeAdvisor describes the two “targeted Leads” services as follows:




    See https://www.homeadvisor.com/rfs/enroll/spPostEnrollLeadsDetails.jsp?link_id=14354 (last

    visited 11/7/2016).

             83.   Leads are generated differently for Market Match and Exact Match Leads, with

    Exact Match Leads resulting in a premium Lead fee charge. As a result, according to Former

    Employee C, sales representatives were advised not to mention that there are two categories of

    Leads, each with a separate budget. Instead, sales representatives were to ask Home Service

    Professionals for a maximum monthly Leads budget which was only applied to, the less

    expensive, Market Match Leads. By wantonly failing to establish a maximum budget for Exact

    Match Leads, Defendants were permitted to charge Home Service Professionals any desired

    amount for Exact Match Leads, which could result in charges of hundreds or thousands of dollars

    above the Home Service Professionals’ anticipated maximum monthly Leads budget.




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             84.   If a Home Service Professional demanded more details about the Leads budget,

    Former Employee C said sales representatives would broadly discuss the difference between the

    two categories of Leads, but require that the monthly minimum budgets be set to $400 for

    Market Match Leads and $200 for Exact Match Leads, even though the actual minimum budgets

    for each category were $250 and $150, respectively.

             85.   Additionally, Home Service Professionals are not informed that if they freeze

    their Leads at any time during the course of the month (e.g., over the weekend), the monthly

    Leads budget resets, thereby allowing Defendants to reach the maximum monthly Leads budgets

    during each interval that the Lead service is interrupted.

             86.   Moreover, the amount that HomeAdvisor charges per Lead is purportedly

    determined by the service requested and location. Home Service Professionals can be charged

    from under $10 to at least $94.56 per Lead. HomeAdvisor, however, does not publish nor

    distribute any Lead fee schedule to Home Service Professionals. Instead, HomeAdvisor tells

    prospective members to contact HomeAdvisor “to learn more”:




    See https://pro.homeadvisor.com/how-it-works/(last visited 11/9/2016).

             87.   Former employees claim that Defendants did not readily disclose the Lead fees

    and misrepresented the anticipatory costs associated with the Lead generation service to avoid

    losing potential sales. Former Employee C said that sales representatives were told to state that

    no Lead fee schedules were available, and only offer a Lead fee range or, better yet, an average

    Lead fee, if pressed. However, according to Former Employee B, sales representatives not only

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    have access to Lead fee schedules, but tools available to generate custom Lead fee schedules

    based on a Home Service Professional’s selected region and services.

             88.   By HomeAdvisor’s refusal to provide Service Professionals accurate and

    comprehensive Lead fee information, the cost of each Lead is generally unknown until the Lead

    is received and the charge is automatically billed to the Home Service Professional’s credit card

    or deducted from the Home Service Professional’s checking or savings account.

             C.    mHelpDesk

             89.   On September 3, 2014, IAC announced that HomeAdvisor had acquired a

    majority stake in mHelpDesk, a startup, cloud-based field service software for small to mid-size

    businesses.    According to some contemporaneous news reports about the acquisition,

    mHelpDesk’s software helps businesses schedule appointments, track work orders and invoices,

    and manage tasks on a smartphone. In those same reports, HomeAdvisor’s Chief Executive

    Officer Chris Terrill advised that the software will be made available to HomeAdvisor’s 80,000

    Home Service Professionals to help improve their services and draw more customers, and was

    further quoted as stating that, with respect to mHelpDesk, “[i]f we help the Service Professionals

    better manage their day-to-day operations, it gives us a lot of very unique ways to allow

    homeowners       to    engage      with     those     Service     Professionals.”         Source:

    http://www.bloomberg.com/news/articles/2014-09-03/iac-s-homeadvisor-buys-stake-in-mHelp

    Desk-startup. Moreover, IAC affirmatively acknowledged in its Annual Report on Form 10-K

    for the Fiscal Year Ended 12/31/2015, that certain HomeAdvisor Membership Programs are

    integrated with mHelpDesk; however, no such integration is reflected in the Membership

    Comparison chart below:


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    See http://welcome.homeadvisor.com/membership/features-93SW-16125K.html (last visited

    7/7/2016).

             90.   In fact, information about mHelpDesk is absent from the publicly-available

    information provided on-line by Defendants in connection with the descriptions of

    HomeAdvisor, its business, the Membership Programs, the Leads and the nature of the services

    provided to Home Service Professionals.

             91.   Home Service Professionals are not informed during the Membership

    Subscription purchasing process that they will be automatically enrolled in and charged for

    mHelpDesk following a one-month free trial.

             92.   Former Employee E confirmed that sales representatives were incentivized to

    represent mHelpDesk as a complimentary membership feature because sales representatives

    received an $80 “kicker” or bonus for signing Home Service Professionals up for the service. As

    a result of the compensation, Former Employee E stated that sales representatives would not

    present mHelpDesk as an option, and would not inform the Home Service Professionals that

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    there was an additional fee for the service. Instead, sales representatives would either gloss over

    the add-on feature entirely, or simply state that a mHelpDesk representative would contact the

    Home Service Professional to discuss the service.

             93.   As a result, Plaintiffs and Home Service Professionals were left to discover that,

    in addition to their annual Membership fee and per Lead fee, Defendants automatically charged

    their credit card or debited their checking account $59.99 - $99.00 a month for “mHelpDesk.”

             94.   Defendants did not notify or seek prior authorization from Plaintiffs and Class

    Members before activating and charging for mHelpDesk.

    IV.      THE LEAD GENERATION PROCESS IS A SHAM.

             95.   Plaintiffs and the members of the Class paid an annual fee to join a HomeAdvisor

    Membership Program and paid hundreds and thousands of dollars for Leads that are the product

    of a systemically flawed and illusory Lead generation and vetting service run by Defendants.

             96.   Defendants acquire, generate and charge Plaintiffs and Home Service

    Professionals for Leads that are not from targeted, serious, qualified and/or project-ready

    Homeowners.     Instead, Defendants employ various methods that result in Plaintiffs and Home

    Service Professionals receiving and paying for a vast majority of Leads that are at best “cold

    calls” and more likely illusory.   Defendants’ Lead generation process is systemically flawed in

    that it does not and cannot generate Leads of targeted, serious, qualified and project-ready

    Homeowners.

             97.   IAC and HomeAdvisor utilize various persons and businesses to accomplish the

    fraud perpetuated on the Home Service Professionals.




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             98.   Direct Lead Generators: IAC, HomeAdvisor and/or IAC through HomeAdvisor

    utilize companies, including One Planet Ops, Inc., HomeImprovement.net (owned by Global

    Ventures Network), and Buyerlink, that are in the business of generating consumer contact

    information for a variety of industries (“Direct Lead Generators”). Some Direct Lead Generators

    also buy and re-sell leads from other Lead Generators, like The Lead House, LLC, which

    generates leads which are then ultimately sold to buyers, like HomeAdvisor, through an auction-

    based system. There are other Direct Lead Generators in the industry that HomeAdvisor may

    also be purchasing leads directly or indirectly from, including: Salesgenie, YOT7 Corp.,

    LeadGenius, Inc. and Leadspace, Inc.

             99.   Partner Affiliate Networks:         IAC, HomeAdvisor and/or IAC through

    HomeAdvisor utilize Partner Affiliate Networks, including CJ Affiliate f/k/a Commission

    Junction (http://www.cj.com/) and Pepperjam (https://www.pepperjam.com/publishers/getting-

    started), to establish leads.   The Partner Affiliate Networks are businesses that connect

    “advertisers” like HomeAdvisor with “publishers” like bloggers and other businesses; publishers

    promote HomeAdvisor on their websites and generate leads that are then sent to HomeAdvisor in

    exchange for a payment to the “publisher”.    The “publishers” are called “Affiliate Program

    Partners”.




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    http://www.homeadvisor.com/servlet/AffiliateSignupServlet (last visited 11/3/2016).

             100.   Home Improvement Branded Affiliates:           IAC, HomeAdvisor and/or IAC

    through HomeAdvisor also utilize established companies and brands specifically in the home

    décor and home improvement business, including Better Homes and Gardens (“BH&G”), Home

    & Garden Television (“HGTV”), Bed Bath & Beyond (“BB&B”), and Wayfair, to generate

    Leads. BH&G, HGTV, BB&B and Wayfair may also be HomeAdvisor Affiliate Program

    Partners. Through such companies’ websites and in store-promotions, Defendants generate

    Leads by obtaining contact information from persons who enter sweepstakes or who are

    interested in other promotional offerings but who are unaware that their information is being sent

    to HomeAdvisor and is being disseminated as a Lead to paying Home Service Professionals.

             101.   The source of Leads is also confirmed by filings made by HomeAdvisor in a 2016

    lawsuit, filed in federal court in Ohio, captioned Johansen v. HomeAdvisor, Inc., et al. Case No.

    2:16-cv-00121 (U.S.D.C. S.D. Ohio)(“Johansen Action”):


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             (a) The Johansen Action alleges that HomeAdvisor and One Planet Ops, Inc. (“One

                 Planet”) violated the consumer-privacy provisions of the Telephone Consumer

                 Protection Act (“TCPA”) by placing telemarketing calls to a telephone number Mr.

                 Johansen and others of a purported class of persons had registered on the National Do

                 Not Call Registry for the purposes of advertising the services and securing new

                 business for HomeAdvisor.

             (b) The Johansen Action also alleges that Mr. Johansen had twice previously sued

                 HomeAdvisor for calls made to him by third parties that engage in telemarketing to

                 obtain new clients—once in September of 2014, and another lawsuit was filed in

                 December of 2014.

             102.   In response, HomeAdvisor filed a motion to dismiss the Johansen Action (see,

    Case: 2:16-cv-00121, Dkt. # 18, filed April 13, 2016), and attached and referenced therein the

    Declaration of Matt Zurcher, the Senior Vice President, Customer Care at HomeAdvisor (id.

    Dkt. # 18-1, "Zurcher Decl.”). In its filings in the Johansen Action, HomeAdvisor attempted to

    escape liability for Leads allegedly generated in violation of the TCPA by claiming that it did not

    directly place or initiate the calls, but rather only purchased the unqualified Leads. In denying

    responsibility for the Lead generation practices employed by affiliates and/or third-parties,

    HomeAdvisor attested to and revealed facts that give a glimpse into the true nature of

    HomeAdvisor’s service, business practices and the nature and quality of the Leads:

                 (a) HomeAdvisor and One Planet are parties to a contract under which One Planet

                    may sell consumer home services leads to HomeAdvisor (‘Lead Supply Services

                    Agreement’). (Id. at ¶ 8.) ....[T]he Lead Supply Services Agreement [ ] gives


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                    HomeAdvisor an opportunity to purchase consumer Leads generated or

                    aggregated by One Planet… (Id. at ¶ 9.)

                 (b) HomeAdvisor is not involved with and has no right to control the manner in

                    which One Planet generates or obtains consumer leads. (Id. at ¶ 10.)

                 (c) One Planet operates an online marketing platform for the acquisition of locally

                    targeted and category specific leads. (Ex. B, Declaration of Richard Lippincott

                    [One Planet’s Vice President, Marketplace] (“Lippincott Decl.”) at ¶ 2.) These

                    leads are generated through the websites of One Planet’s operating companies and

                    by contracting with third parties for the purchase of lead data. (Id.) One Planet

                    does not place marketing telephone calls to consumers for purposes of generating

                    leads. (Id.) In fact, One Planet does not operate a call center. (Id.) Once acquired,

                    One Planet sells the leads to interested buyers. (Id. at ¶ 3.) To facilitate the

                    acquisition and sale of leads, One Planet operates a real-time, automated ping-

                    and-post system utilizing an application programming interface (“API”). (Id.)

                    This API system is internally referred to as the “Marketplace”. Through the API,

                    independent affiliates can, at their discretion, ping One Planet’s Marketplace with

                    the intent of submitting consumer lead information. (Id.) Generally, once an

                    affiliate’s ping is received by the Marketplace, One Planet, in real-time, pings all

                    potential purchasers. (Id.) Then, interested prospective purchasers respond back to

                    the ping, through a ping response, indicating whether or not they intend to

                    purchase the full lead information. (Id.) The highest posted bid wins the right to

                    purchase the lead. (Id.) When a lead enters One Planet’s system, One Planet does


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                    not know, in advance, who will ultimately purchase the lead—or if the lead will

                    be purchased at all. (Id. at ¶ 3.)

                 (d) Lead House, LLC had been an independent contractor supplying leads to One

                    Planet. (Id. at ¶ 4.) Lead House is not a traditional telemarketer that makes

                    telephone calls on behalf of its clients, selling the products of its clients. Rather,

                    Lead House sells its own products—Leads. (See id. at ¶ 4.) Although One Planet

                    does not direct or control the manner by which Lead House generates leads, One

                    Planet only bargained for leads from Lead House that were to be generated from

                    inquiries from individuals who completed an online form hosted by Lead House.

                    (Id. at ¶¶ 5-6.) The form included confirmation of the consumer’s express consent

                    to receive marketing messages and telephone calls, and that such calls were

                    generated in compliance with the law. (Id. at ¶ 6.)

                 (e) HomeAdvisor and Lead House have no business relationship, contractual or

                    otherwise. (Zurcher Decl. at ¶ 7.) HomeAdvisor has not directly communicated

                    with or contacted Lead House at any time. (Id.) HomeAdvisor was not aware of

                    Lead House or of any relationship between One Planet and Lead House prior to

                    receipt of the Complaint in the Johansen Action. (Id.)

             103.   HomeAdvisor’s filings in the Johansen Action confirm that HomeAdvisor and

    One Planet have maintained a lead supply services agreement since at least June 17, 2010 to

    generate volumes of unqualified Leads through methods that flatly contradict the characteristics

    and nature of the Leads and services for which Plaintiffs and the Home Service Professionals

    were being charged.


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             104.   The source of the HomeAdvisor Leads is arbitrary, accomplished through cold-

    calling and conducted by third-parties that do not maintain a direct relationship with

    HomeAdvisor and/or who may not even be known to HomeAdvisor.

             105.   HomeAdvisor conceals the nature and genesis of its Leads by misrepresenting

    that Leads are exclusively generated and vetted through its patented ProFinderTM and

    ProLeadsTM systems that are designed to weed out the casual internet browser from serious,

    qualified and project-ready Homeowners.

             106.   By its own admissions, HomeAdvisor acquires Leads from a variety of sources,

    including “affiliate websites, through telephone contacts from consumers, and through

    marketplace sources such as independent contractors” and ancillary lead supply services

    agreement. (See Zurcher Decl at ¶ 5.)

             107.   The Leads are the product of telemarketing, cold-calling, sweepstake entries and

    other third-party Lead generation companies and sources used by Defendants, a far cry from a

    process that would be designed and calculated to generate Leads that constitute qualified,

    project-ready Homeowners.

             108.   Defendants do not procure or vet the Leads, yet HomeAdvisor supplies and

    charges Home Service Professionals for the unsubstantiated Leads.

    V.       THE LEADS ARE A SHAM.

             109.   Plaintiffs and the Class are not receiving Leads constituting targeted, serious,

    qualified or project-ready Homeowners. Leads are the product of Defendants’ systemically

    flawed system and process, and are illusory as they are comprised of: wrong or disconnected

    phone numbers and contact information; persons who never even heard of HomeAdvisor; stale


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    Leads, including for projects that Homeowners completed months or years prior to the Lead

    being sent; contacts for homes that were listed for sale; and contacts for vacant or non-existent

    residences.

             110.    The Plaintiffs and the Class of Home Service Professionals have been subjected,

    at each turn, to deceptive, coercive and unfair business practices employed by Defendants with

    respect to the Leads and the purported benefits of the Membership Programs:

                  (a) Defendants used systemically flawed and deficient processes to generate Leads

                     that were not of the nature and quality of the Leads that were required, yet

                     Defendants sent to and charged the Home Service Professionals for such Leads.

                  (b) Defendants did not generate Leads for the Home Services Professionals that were

                     targeted and from serious, qualified or project-ready Homeowners.

                  (c) Defendants charged the Home Service Professionals for Leads that were not

                     qualified business opportunities.

                  (d) Defendants charged Plaintiffs and the members of the Class for Leads that have

                     been sent to more than four Home Service Professionals.

                  (e) Defendants charged Home Service Professionals for mHelpDesk without

                     knowledge or consent of the Home Service Professionals.

                  (f) Defendants systemically disregarded the parameters and limits placed on the type

                     and number of Leads to be charged to Home Service Professionals.

                  (g) Defendants employed tactics that prevent Home Service Professionals from

                     cancelling their membership and Leads, and from disputing the propriety of a

                     Lead in order to secure a refund.


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             A. Defendants’ Former and Current Employees Confirm the Bogus Nature of the
                Leads.

             111.   Defendants’ deficient Leads are the direct result of a systemically flawed Lead

    generation process in that it does not and cannot generate Leads of targeted, serious, qualified

    and project-ready Homeowners.

             112.   Defendants’ former and current employees have exposed and confirm details

    regarding the sham Leads that were and continue to be sold to the Home Service Professionals.

             113.   Former Employee A, one of only two HomeAdvisor customer service managers,

    at the time, confirmed that HomeAdvisor’s third-party affiliate Lead generation agreements were

    fundamentally flawed.

             114.   According to Former Employee A, HomeAdvisor agreed to purchase Leads from

    third-parties in bulk. The bulk Lead agreements incentivized third-parties to generate Leads by

    any means possible in order to satisfy the required number of Leads to trigger bulk purchases.

    Former Employee A stated that HomeAdvisor “knew their affiliates were doing shady things” to

    generate Leads.

             115.   For example, Former Employee A specifically recalls HomeAdvisor’s Lead

    agreement with Publishers Clearing House (“PCH”) as “disastrous” because PCH had allegedly

    generated bogus Leads through PCH sweepstakes which HomeAdvisor bought, in bulk, and then

    supplied and charged Service Professionals for the illusory Leads. Similarly, Former Employee

    B stated that her sales manager informed her that HomeAdvisor was buying contact information

    supplied by attendees at home shows and converting the information into phony Leads.




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             116.   The net result of these types of Lead acquisitions was Home Service Professionals

    paying for and contacting Leads who never submitted a service request; who were not familiar

    with HomeAdvisor; and who did not want to be contacted by Home Service Professionals.

             117.   According to Former Employee A, by approximately July 2011, HomeAdvisor

    was acquiring more Leads from third-party affiliates than it was independently generating. In

    resolving Home Service Professional disputes that were escalated, Former Employee A’s

    credentials permitted him to view the Lead sources of each Lead a Home Service Professional

    had been supplied – a majority of which were Leads from affiliates.

             118.   But, even the Leads HomeAdvisor creates internally are flawed.         A former

    ServiceMagic outbound consumer lead manager explained that her team would call clients

    looking for contractors with the goal to “up-sell them on additional services” which produced

    unqualified Leads. The former employee described the process as follows:

                    If a client was in need of a plumber, we were taught to envision ourselves
                    in the client's bathroom and imagine all of the other problems there may
                    be based on their initial problem. For example, if the client needed a
                    plumber for a busted pipe, we would ask if they had flooding and needed
                    flooring, tile, drywall, mold abatement, etc....If the client said yes or
                    maybe in the future, the sales rep would put in a lead (which they were
                    making commission on) and that lead would be sent to multiple
                    contractors. The client's phone would then blow up with calls from
                    professionals. Some would often call back and complain that they had
                    more than 4 calling them.


             119.   As a result of Defendants unmonitored and deceitful practices employed to

    generate unqualified and unverified Leads, Home Service Professionals constantly contact their

    sales representatives to complain about the Leads.      Former Employee E estimated that he




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    received 20-30 voicemails a day about the Leads from Home Service Professionals who said the

    “Leads were complete trash” or that the “Leads were bogus.”

             120.   Although HomeAdvisor instructed sales representatives to forward dissatisfied

    Home Service Professionals directly to customer service, Former E confirmed that Leads

    supplied to his Home Service Professionals appeared on other Lead generation sites, such as

    http://homeimprovement.net/.

             121.   Former Employee E also had reason to believe that Leads were being replicated

    as purported new or different Leads. He noticed in reviewing “bad” Leads that the exact same

    Leads were repeatedly being duplicated – including the same grammar, punctuation, and even

    grammatical errors – and the only variations were geographic location, and the Lead name and

    contact information.

             122.   Defendants’ former and current employees have spoken out on online forums

    about the systemically bogus Leads. As a post by an author identified as a former HomeAdvisor

    sales employee confirms: “I personally believe they have a program running in the back

    ground [sic] to send contractors fake leads. I was working with a contractor in California and

    I personally looked into EVERY lead HA sent him. 7 out of 10 were completely fabricated and

    I personally could not find the so called lead in internet searches (like google & yahoo) or

    even in the phone book…”




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    See http://www.complaintslist.com/2016/homeadvisor-statement-from-an-x-ha-sales-employee/
    (last visited 6/28/2016).

             123.   A person who was identified as a former HomeAdvisor inside sales employee

    explained the bogus nature of the Leads as follows: “The ‘leads’ are awful! You’re supposed to

    be calling contractors, I had leads that were churches and schools.”, and “In order to sell

    anything you have to memorize a FOUR PAGE archaic sales script that swindles contractors into

    spending thousands of dollars a year!” [sic].




    See https://www.glassdoor.com/Reviews/HomeAdvisor-Reviews-E11291_P3.htm (last visited
    11/2/2016).

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             124.   As a person identified as a former HomeAdvisor employee characterized the

    business: “Possibly one of the most insidious business strategies in the U.S. Get your pro

    customers to pay for bogus leads, create extensive Fear & Loathing among them, manipulate

    everyone & instigate false confidence in your customers [their clients] while ripping everyone

    off. Incredible !” [sic].




    See https://www.glassdoor.com/Reviews/HomeAdvisor-Reviews-E11291_P3.htm (last visited
    11/2/2016).

             125.   As described in the below post by an author identified as a then-current

    HomeAdvisor employee: “I really think this is a terrible company for what they do to their

    clients they lie to you to tell contractors they are giving the leads they are selling up to 3 other

    contractors in their area and really is [sic] is much more and they charge up wards [sic] of 60

    dollars for each lead.” “Stop telling people they are doing a good thing when you know that you

    are ripping blue collar companies off!!”




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    See https://www.glassdoor.com/Reviews/HomeAdvisor-Reviews-
    E11291_P17.htm?sort.sortType=OR&sort.ascending=false (last visited 7/14/2016).

             126.   Another person identified as a former HomeAdvisor sales employee confirms that

    the sales pitch is to “Lie to contractors about the leads being quality leads.”




    See https://www.glassdoor.com/Reviews/HomeAdvisor-Reviews-
    E11291_P20.htm?sort.sortType=OR&sort.ascending=false (last visited 7/14/2016).

             127.   As described in the below post by a former HomeAdvisor employee: “Selling

    product primarily to contractors who cannot afford it, and who receive bad-quality ‘LEADS’

    [sic].” “The entire situation is a racket. They are stealing money from the poor schmucks who

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    sign up. Don’t coach your Sales Reps to sell through fear, and to ‘omit’ crucial facts to the

    customers signing up. That’s the same as lying.”




    See https://www.glassdoor.com/Reviews/HomeAdvisor-Reviews-
    E11291_P20.htm?sort.sortType=OR&sort.ascending=false (last visited 7/14/2016).


             B. The Plaintiffs’ Experiences with HomeAdvisor and the Bogus Leads.

             128.   Like the members of the Class of Home Service Professionals, Plaintiffs were

    subjected to Defendants’ unfair, deceptive and fraudulent business practices as follows.

             Plaintiff Airquip

             129.   On or about September 16, 2015, Plaintiff Airquip contacted HomeAdvisor and

    paid $347.98 for a HomeAdvisor Pro ConnectTM membership. During the call, Defendants’ sales

    consultant touted how HomeAdvisor’s proven ProLeadsTM lead generation platform would grow

    Plaintiff Airquip’s business through qualified, serious leads that would cost between $15 and $45

    each depending on the service selected.




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             130.   Plaintiff Airquip received its first Leads on September 16, 2015 and within days

    began keeping a detailed lead log about the Leads.

             131.   Over the course of six months, Plaintiff Airquip received approximately 180

    Leads for $6,300. The unpredictable fee associated with each Lead fluctuated between $8 and

    over $86 – nearly double the maximum Lead fee quoted by Defendants’ sales consultant. The

    following is an example of the purportedly “proven” ProLeads for which Plaintiffs was charged.

    Of the 180 Leads, Plaintiff Airquip encountered a variety of systemic issues concerning the

    legitimacy and viability of the Leads:

                 (a) Disconnected phone numbers or non-working voicemails: Plaintiffs routinely

                    received Leads that contained out-of-service or non-working phone numbers.

                    Many of Plaintiff Airquip’s attempts to contact Leads were futile because the

                    phone numbers continuously rang until disconnecting, or a voicemail, often

                    automated, would pick up, but then inform Plaintiff Airquip that a message could

                    not be recorded since the voicemail was either not set up or was full.

                 (b) Outside the service area: Plaintiff Airquip services the Rochester, New York

                    region and its Lead geographic parameters reflected such. However, Plaintiff

                    Airquip received and paid as much as $86 for Leads from as far away as

                    Massachusetts and Florida.

                 (c) Stale Leads: On several occasions Plaintiff Airquip contacted Leads within

                    hours of when they were received only to learn that the service request had

                    already been completed, sometimes even weeks before the Lead was received, or

                    that another service professional had already been selected.


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                 (d) Lead was not the Homeowner: Several Leads that were successfully contacted

                    informed Plaintiff Airquip that they were not the homeowner of the property;

                    therefore they were not seeking the service indicated on the Lead and questioned

                    how their contact information was obtained.

                 (e) Lead submission denial: Numerous Leads full-heartedly denied submitting any

                    service request through HomeAdvisor.com and some leads were completely

                    unfamiliar with HomeAdvisor. Yet, Plaintiff Airquip was still required to pay as

                    much as $50.99 for these unsubstantiated Leads.

                 (f) Inaccurate Lead contact information: For several, when Plaintiff Airquip called

                    the phone number provided in the Lead, the person answering claimed that they

                    did not know the person who was identified in the Lead. Also, Plaintiff Airquip

                    was told that the individual listed on the Lead was deceased.

             132.   In agreeing to pay for a membership and each Lead, Plaintiff Airquip relied on

    Defendants’ representations concerning its vetted and quality Lead service. Had HomeAdvisor

    disclosed that the Leads were illusory, Plaintiff Airquip would not have agreed to subscribe to an

    annual membership or pay for Leads.

             133.   Additionally, prior to Plaintiff Airquip paying for its Pro ConnectTM membership,

    neither Defendants nor any of their representatives informed Plaintiff Airquip that it would be

    automatically enrolled in mHelpDesk at a rate of $59.99 a month following a one-month free

    trial.   Plaintiff Airquip only learned of the mHelpDesk product when Defendants’ sales

    consultant contacted Plaintiff Airquip during the trial period to activate the system. Plaintiff

    Airquip, at that time, informed the consultant that it was not interested in the product and


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    requested that the service be terminated.           Irrespective of Plaintiff Airquip’s request,

    HomeAdvisor charged Plaintiff Airquip $59.99 a month for a system they never accessed.

             134.   On or around March 23, 2016, Plaintiff Airquip terminated its subscription with

    HomeAdvisor. In total, Plaintiff Airquip paid in excess of $7,200 for HomeAdvisor’s Pro

    ConnectTM membership, mHelpDesk, and Leads. As a result of Defendants’ conduct, Plaintiff

    Airquip has been injured.

             Plaintiff DaSilva

             135.   On or about November 5, 2015, a HomeAdvisor sales representative contacted

    Plaintiff DaSilva. The sales representative conveyed that HomeAdvisor only had one or two

    other Home Service Professionals performing marble polishing and surfacing services in

    Plaintiff DaSilva’s area and HomeAdvisor needed more contractors to fulfill requests from

    targeted, serious, project-ready Homeowners. The sales representative assured Plaintiff DaSilva

    that if she encountered any issues with the Leads that HomeAdvisor would simply issue a refund

    or replace the Lead. According to the sales representative, Plaintiff DaSilva had “nothing to

    lose.” Based upon these representations, Plaintiff DaSilva paid $347.98 for a HomeAdvisor Pro

    ConnectTM membership.

             136.   Within the first month, Plaintiff DaSilva received approximately 25 Leads for

    which she was charged over $715. The unpredictable fee associated with each Lead fluctuated

    from $13 to approximately $60 depending on the service selected and whether it was a Market

    Match or Exact Match Lead.

             137.   Plaintiff DaSilva immediately encountered problems with the Leads. Plaintiff

    DaSilva received Leads that consisted of disconnected phone numbers; persons stating that they


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    were not the Homeowner of the property and were not interested in the service; Leads for

    services Plaintiff DaSilva did not offer; and even a Lead with a fictitious address.   Yet, the most

    common Lead deficiency Plaintiff DaSilva confronted were Homeowners that informed her that

    she was not the first or the fourth HomeAdvisor Home Service Professional to contact them, but

    the tenth or even twentieth HomeAdvisor Home Service Professional. Plaintiff DaSilva was

    under the impression that there were only one or two other competitors in the HomeAdvisor

    network, but according to the Homeowners they were being inundated with unwelcomed calls.

             138.    Plaintiff DaSilva attempted, unsuccessfully, to contact her sales representative to

    complain about the quality of the Leads, but her calls were forwarded to customer service.

    Plaintiff DaSilva requested credits for the bogus Leads, but in contradiction to the information

    provided by the sales representative that sold Plaintiff DaSilva the membership, HomeAdvisor

    did not willingly issue Lead credits. Plaintiff DaSilva was only issued a few credits for the

    deficient Leads.

             139.    Shortly thereafter, Plaintiff DaSilva contacted HomeAdvisor to cancel the

    membership because she could no longer reasonably justify wasting any money on bogus Leads.

    Rather than cancel the membership, HomeAdvisor offered to adjust Plaintiff DaSilva’s Lead

    mode.        The “Opportunity Leads” would permit Plaintiff DaSilva to view limited Lead

    descriptions and choose whether to accept, and be charged, only for the Leads she selected.

             140.    Plaintiff DaSilva accepted a few Opportunity Leads which, unbeknownst to her,

    incurred a premium Lead fee charge. Unfortunately, the Lead quality was no better. The Leads

    were for fictitious people, or Homeowners who were furious because they had been contacted by




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    countless other HomeAdvisor Home Service Professionals.          As a result, Plaintiff DaSilva

    stopped accepting Leads.

             141.   Then in April 2016, Plaintiff DaSilva discovered that HomeAdvisor had been

    charging her $59.99 for four months for mHelpDesk. At no time had HomeAdvisor informed

    Plaintiff DaSilva that she would be automatically enrolled in mHelpDesk at a rate of $59.99 a

    month following a one-month free trial. Plaintiff DaSilva immediately notified HomeAdvisor

    that she wished to terminate and cancelled the credit card linked to her HomeAdvisor account.

             142.   Plaintiff DaSilva did not receive any Leads or charges after April 2016, until

    HomeAdvisor fraudulently tried to charge a Lead fee of $55.69 to the credit card on file on

    September 23, 2016. HomeAdvisor assessed a $20 fee for the rejected credit card and issued, on

    October 11, 2016, Plaintiff DaSilva a final notice that her account will be sent to a collection

    agency if she does not pay $75.69.

             143.   In total, Plaintiff DaSilva has been charged over $1,500 for HomeAdvisor’s Pro

    ConnectTM membership, mHelpDesk, and Leads. Plaintiff DaSilva has been injured as a result

    of Defendants’ conduct. In agreeing to pay for a membership and each Lead, Plaintiff DaSilva

    relied on Defendants’ representations concerning its vetted and quality Lead service.       Had

    HomeAdvisor disclosed that the Leads were illusory, Plaintiff DaSilva would not have agreed to

    subscribe to an annual membership or pay for Leads.

             Plaintiff Gray

             144.   Plaintiff Gray contacted HomeAdvisor in December 2015 to learn whether the

    service could assist her in her efforts to market and acquire new clients for her cleaning and

    janitorial business.      The HomeAdvisor sales representative assured her that the Leads were


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    targeted, verified, pre-screened Leads in Plaintiff Gray’s area, and that Plaintiff Gray would have

    full control over the Lead flow and budget. Plaintiff Gray was tentative about the service and

    unwilling to sign up at that time, so the HomeAdvisor sales representative offered her “preview

    Leads”, which according to HomeAdvisor are samples of actual, targeted Leads that match the

    prospective Home Service Professional’s profile.        The HomeAdvisor sales representative

    persistently contacted Plaintiff Gray for over a month, until she signed up and paid for a

    HomeAdvisor Pro ConnectTM membership on or about February 4, 2016.

             145.   Upon activation of the Leads, Plaintiff Gray began encountering repetitive

    deficiencies with the Leads for which she was incurring Leads fees that ranged from $16 to over

    $55 per Lead.     Plaintiff Gray received Leads that had disconnected phone numbers, numbers

    that went to fax lines and numbers that rang incessantly before disconnecting. Plaintiff Gray

    even received duplicate Leads and Leads with fictitious addresses. Of the few Homeowners

    Plaintiff Gray was able to successfully contact, her calls were unwelcomed because the

    Homeowners claimed they did not submit any request through HomeAdvisor and demanded to

    know how Plaintiff Gray received their contact information.

             146.   Plaintiff Gray contacted HomeAdvisor on several occasions to complain about the

    quality of the Leads and to request Lead credits, which HomeAdvisor required her to submit

    through the HomeAdvisor Pro portal. Although some Lead credits were issued to Plaintiff Gray,

    the Lead credit request process was cumbersome and arbitrary. Additionally, in April 2016,

    Plaintiff Gray discovered that HomeAdvisor had charged her $59.99 for mHelpDesk on her

    March and April statement. At no time had HomeAdvisor informed Plaintiff Gray that she

    would be automatically enrolled in mHelpDesk at a rate of $59.99 a month following a one-


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    month free trial. Plaintiff Gray demanded a refund and was credited for the $59.99 charge on the

    April statement.

             147.   Furthermore, in contrast to HomeAdvisor’s assertions that the service granted the

    Home Service Professional the ability to establish and monitor monthly Lead budgets, Plaintiff

    Gray’s monthly budget was continuously surpassed. After receiving and paying for so many

    bogus Leads, Plaintiff Gray decreased her Lead budget to $200 a month – $100 for Exact Match

    Leads and $100 for Market Match Leads. But, HomeAdvisor routinely charged and withdrew

    the monthly Lead allowance on a weekly basis. When Plaintiff Gray contacted HomeAdvisor

    about the unauthorized charges and account discrepancy, HomeAdvisor justified its actions by

    claiming that Plaintiff Gray “must have” frozen her Leads during the week, thereby initiating a

    new budget. However, Plaintiff Gray had not frozen her leads, nor was she informed that

    freezing Leads would essentially “reset” her monthly Lead budget.

             148.   In total, Plaintiff Gray received over 170 Leads and was charged approximately

    $4,500 for HomeAdvisor’s Pro ConnectTM membership, mHelpDesk, and Leads. As a result of

    Defendants’ conduct Plaintiff Gray has been injured and is in jeopardy of being evicted from her

    residence because the cost associated with her HomeAdvisor service far exceeded the costs she

    had anticipated, and no lucrative jobs were secured from the service. In agreeing to pay for a

    membership and each Lead, Plaintiff Gray relied on Defendants’ representations concerning its

    vetted, quality, budget-conscious Lead service. Had HomeAdvisor disclosed the true nature and

    quality of the Membership Program and Leads, Plaintiff Gray would not have agreed to

    subscribe to an annual membership or pay for Leads.




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             149.   The Plaintiffs’ experiences, as corroborated by the complaints by other Home

    Service Professionals (see infra) and the information shared by HomeAdvisor’s former

    employees, confirm that HomeAdvisor has engaged in a uniform and fraudulent scheme to

    induce Home Service Professionals to pay for Membership Programs and Leads that were a

    sham, and that IAC and HomeAdvisor falsified and concealed the nature and quality of the Leads

    to generate millions of dollars in revenue from the Home Service Professionals.

             150.   As a result of Defendants’ unfair, deceptive and fraudulent business practices,

    Home Service Professionals and Plaintiffs have suffered substantial and an ascertainable loss of

    money.

             151.   Defendants have operated a scheme designed to bestow significant financial

    benefits upon themselves to the detriment of Plaintiffs and the Class. Had Defendants not

    concealed and falsely characterized the true nature of the Membership Programs and the Leads,

    Plaintiffs and the Class would not have paid millions of dollars for the Membership Programs

    and Leads.

             C.     Home Service Professionals Nationwide Have Been Subjected to the Fraud.

             152.   Home Service Professionals nationwide have confirmed that HomeAdvisor has

    engaged in a uniform and fraudulent scheme to induce Home Service Professionals to pay for

    Membership Programs and Leads that were a sham, and that IAC and HomeAdvisor falsified and

    concealed the nature and quality of the Leads to generate millions of dollars in revenue from the

    Home Service Professionals.




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             CALIFORNIA

             153.   A California based landscaper and pool maintenance contractor was contacted by

    HomeAdvisor in August 2015. Based upon the representations made over the phone by the

    HomeAdvisor sales representative concerning the quality of the Leads, the Home Service

    Professional signed up and paid for a Pro ConnectTM membership. The sales representative also

    informed the Home Service Professional that the membership included mHelpDesk and that he

    would be contacted by a representative about the service.

             154.   Shortly thereafter, the Home Service Professional began to notice that a majority

    of the Leads were deficient. The Leads he was charged for consisted of, inter alia, disconnected

    phone numbers, wrong numbers, people claiming they never submitted a service request,

    duplicate Leads, competitors testing the system, Leads that were contacted by over 5

    HomeAdvisor Home Service Professionals, Leads containing bogus names, such as “123 ABC.”

    In addition to the Lead fees, the Home Service Professional discovered, after reviewing his

    statements, that he was charged $99/month for mHelpDesk.

             155.   The Home Service Professional contacted HomeAdvisor and requested to cancel

    his membership; however, HomeAdvisor did not process the cancellation and continued to send

    the Home Service Professional Leads for over 30 days and charged him $900 in Lead fees. The

    Home Service Professional refused to pay HomeAdvisor for the Lead fees incurred after he

    requested to cancel his service. Thereafter, HomeAdvisor sent the Home Service Professional’s

    account to Credit Mediators Inc. (CMI) for collections.




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             CONNECTICUT

             156.   A Connecticut based landscaper was contacted by HomeAdvisor in July 2016 and

    told that there were a lot of landscaping requests from Homeowners in his area and

    HomeAdvisor was looking for qualified contractors who would be interested in the Leads –

    which only cost $10 each.      Based on these representations, the Home Service Professional

    signed up for a Pro ConnectTM membership.

             157.   The Home Service Professional immediately encountered issues with the Leads.

    The first Lead was for a service he did not offer. He immediately called HomeAdvisor and

    demanded a credit. The sales manager that he spoke with assured him he would be credited, but

    no such credit was ever received. Within a month, the Home Service Professional received 13

    Leads that ranged in price from $11-$20 per Lead. Of the 13 Leads he only spoke to two

    Homeowners, but no landscaping job was secured from either Lead.            The 11 other Leads

    consisted of disconnected phone numbers, non-existent addresses, a competitor testing the

    system, Homeowners claiming they did not want the work done, and incorrect email addresses.

             158.   By the end of his first month, the Home Service Professional had been charged

    over $530 and his bank account had been over drafted because HomeAdvisor withdrew from his

    bank account on a weekly basis, rather than on a monthly basis as communicated by the sales

    representative. The Service Professional attempted to contact his sales representative several

    times to resolve these issues. When he finally reached a representative he requested to cancel his

    service. The Home Service Professional was transferred to four different representatives who

    tried to convince him not to cancel his membership and offered him Lead credits. The Home

    Service Professional, thoroughly frustrated by the entire scheme, terminated the membership.


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             159.   Within days of cancelling the membership, the Home Service Professional began

    receiving multiple calls from HomeAdvisor sales representatives pleading with him to re-activate

    his membership and even offered him 5 free Leads. The Home Service Professional declined

    and requested that HomeAdvisor stop calling him.

             MARYLAND

             160.   A home remodeling contractor located in Maryland contacted HomeAdvisor in

    August 2016 to learn about the offered services.        The HomeAdvisor sales representative

    described HomeAdvisor’s ProLeadsTM as verified, pre-screened Leads and indicated that the

    Leads were only distributed to a total of three Home Service Professionals in HomeAdvisor’s

    network. Based upon these representations, the Home Service Professional agreed to purchase a

    Pro ConnectTM Membership.

             161.   Once the membership was activated, the Home Service Professional began

    receiving Leads and his account was charged, on average, $87 per Lead. The Home Service

    Professional experienced recurring issues with the Leads, including Leads consisting of fictitious

    addresses and disconnected phone numbers. Of the few Leads he was able to successfully

    contact, the frustrated Homeowners informed him that he was the fifth or more HomeAdvisor

    Home Service Professional to contact them.

             162.   When the Home Service Professional contacted HomeAdvisor to complain about

    the quality of the service and over distribution of the Leads, the HomeAdvisor customer service

    representative confessed that Leads are routinely distributed to five or more contractors. Upon

    learning this information, the Home Service Professional requested to freeze his Lead generation

    services. However, unbeknownst to the Home Service Professional, HomeAdvisor reactivated


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    the Leads on several occasions and continued to charge his account without proper notification

    and authorization.

             163.   In total, the Home Service Professional received about 40-50 Leads and was

    charged, on average, $87 per Lead. Had the Home Service Professional not been misled about

    the true nature and quality of the Membership Program and Leads, he would not have signed up

    and paid for a membership.

             MASSACHUSETTS

             164.   In August 2015, a construction company in Massachusetts paid for a Pro

    ConnectTM membership based upon the representations made over the phone by the

    HomeAdvisor sales representative. The Home Service Professional was told that he would

    receive targeted, qualified Leads in his area. At no point during registration process was he

    informed that he would be charged for each and every Lead, whether he was able to successfully

    make contact with the Lead or not.

             165.   The Home Service Professional was charged approximately $85 for each of the 35

    or so Leads that he received. A majority of the Leads were unviable Leads. They consisted of

    unresponsive Leads, people claiming they never owned the property, homeowners stating that he

    was the fifth or sixth HomeAdvisor Service Professional to contact them.

             166.   When the Home Service Professional contacted HomeAdvisor about the issues

    and demanded Lead credits, HomeAdvisor denied the requests claiming that those scenarios did

    not qualify for Lead credits and suggested that the Home Service Professional continue calling

    the unresponsive Leads. As a result, the Home Service Professional terminated his membership




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    and refused to pay the outstanding $1,400 in Lead fees. HomeAdvisor has now sent his account

    to collections.

             MINNESOTA

             167.     In January 2016, a roofing contractor operating out of Minnesota signed up for a

    Pro ConnectTM membership with HomeAdvisor with the expectation that he would receive

    qualified Leads from project-ready homeowners.

             168.     Immediately upon receiving the first Leads the Home Service Professional

    became suspicious of the Leads because the Leads were completely unresponsive, he spoke to

    Homeowners that claimed they had already been contacted by five other HomeAdvisor Service

    Professionals, and other Leads stated they were not the homeowners. The Home Service

    Professional even contacted an Exact Match Lead who informed him that 4 other HomeAdvisor

    Service Professionals had already contacted him. The Home Service Professional received a total

    of 30 Leads, 22 of which he deemed to be bad Leads. Each Lead fee ranged between $38 and

    $122. The Home Service Professional paid a total of $1,800 for the Leads, in addition to the

    hidden mHelpDesk fees.

             169.     Within a month of signing up for the membership, the Home Service Professional

    felt terribly misled and contacted HomeAdvisor to request that the membership be cancelled and

    that he be refunded for the 22 bad Leads. HomeAdvisor refused to refund the Home Service

    Professional, but confirmed that his membership would be cancelled.

             170.     Three weeks later, the Home Service Professional learned that the service was not

    cancelled, but instead the Leads had been paused. The Home Service Professional attempted to

    cancel his membership three more times before it was finally cancelled in June 2016.


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             171.   The Home Service Professional recorded his calls with HomeAdvisor to

    document the issues he was encountered when requesting Lead credits and cancellation of the

    service. He posted these videos on YouTube.com to expose HomeAdvisor for its fraudulent

    business practices. Upon learning about the YouTube videos, HomeAdvisor offered the Home

    Service Professional $1,000 to take down the video recordings, which the Home Service

    Professional declined.

             MISSOURI

             172.   A painter in Missouri signed up for a HomeAdvisor Pro ConnectTM membership

    in February 2016. While the Home Service Professional had his Leads activated, he received 10

    Leads which cost him about $30 each. Several of the Leads were for work the Home Service

    Professional did not perform. Many Leads never answered their phones or replied to emails, and

    when the Home Service Professional was able to successfully contact the Leads he was told that

    the Homeowners had never gone on HomeAdvisor’s website to submit a service request.

             173.   After this experience with HomeAdvisor’s Lead service, he froze the Leads. In

    agreeing to pay for a membership and each Lead, the Home Service Professional relied on

    Defendants’ representations concerning its vetted and quality Lead service. Had HomeAdvisor

    disclosed that the Leads were illusory, the Service Professional would not have agreed to

    subscribe to an annual membership or pay for Leads.

             NEW JERSEY

             174.   In December 2014, a New Jersey architecture firm spoke with a HomeAdvisor

    sales representative who described HomeAdvisor’s ProLeadsTM as qualified new business

    opportunities from targeted, verified, project-ready Homeowners. When asked about


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    HomeAdvisor’s refund policy for bad Leads, the sales representative assured the architect that

    HomeAdvisor would credit any Lead that was, inter alia, unresponsive or if the Lead was a

    competitor testing the system. Based upon these representations, the architect paid for a Pro

    ConnectTM membership and began receiving Leads.

             175.   In 2015, the architect received over 25 Leads with Lead fees that ranged from $38

    to $85. The Leads were almost entirely bogus. A majority of the Leads had numbers that either

    rang incessantly because no voicemails were set up or had automated voicemails, none of which

    resulted in a return phone call. Of all the Leads, the architect successfully contacted only four

    people, all of whom stated they did not submit any such request and were not interested in

    having any work performed. The architect contacted HomeAdvisor several times to request Lead

    credits for the deficient Leads which, according to the HomeAdvisor sales representative, were

    eligible for credits; however, all Lead credit requests were denied.

             176.   Dissatisfied with the quality of the service, the architect attempted to cancel the

    service several times, but the HomeAdvisor representatives implemented barriers intended to

    make it difficult to cancel the service by continuously forwarding the architect from person to

    person and department to department. After spending a considerable amount of time on the

    phone, the cancellation attempts only amounted to temporary deactivation of the Lead service.

             177.   During these cancellation attempts, the architect did indicate that he did not wish

    to renew the subscription; however, HomeAdvisor disregarded the request and automatically

    renewed and charged the architect $287.99 in December 2015 for another annual membership.

    Since then, the architect has mindfully monitored the account to keep the Lead generation

    service deactivated to avoid incurring wasteful charges.


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             178.   As of November 2016, the architect contacted HomeAdvisor to request and

    confirm that the membership will not renew again in December 2016. Since the service cannot

    be terminated online, the architect is fearful that HomeAdvisor will disregard the request and

    charge him another membership fee. Had the architect not been misled about the true nature and

    quality of the Membership Program and Leads, he would not have signed up and paid for a

    membership and each Lead.

             OHIO

             179.   A painter based in Ohio signed up for a HomeAdvisor Pro ConnectTM

    membership in February 2016. Within just 10 days, the Home Service Professional was charged

    almost $1,200 for the membership fee and Leads. The Leads that the Home Service Professional

    was charged for included services that he did not perform, Homeowners that already had

    estimates from other contractors, Homeowners not interested in speaking to the Home Service

    Professional, and unresponsive Leads.

             180.   The Home Service Professional is the owner of a small business and the charges

    incurred from the HomeAdvisor membership and Leads hurt his business.           He contacted

    HomeAdvisor to explain the deficiency of the Leads, but HomeAdvisor was unwavering and

    informed him that he was not entitled to any money back.       As a result, the Home Service

    Professional terminated his membership the same month he opened it.

             PENNSYLVANIA

             181.   A Pennsylvania based interior and exterior remodeling Home Service

    Professional, servicing northwestern Pennsylvania and western New York, contacted

    HomeAdvisor in August 2016 to learn about the offered services. The HomeAdvisor sales


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    representative described HomeAdvisor’s ProLeadsTM as verified, pre-screened Leads from

    project-ready homeowners in the Home Service Professional’s targeted geographic region.

    Based upon these representations, the Home Service Professional agreed to purchase a Pro

    ConnectTM Membership.

             182.   Over the course of four months, the Home Service Professional received

    approximately 15 Leads. The Home Service Professional was not informed what the Lead fee

    for each Lead would be prior to being charged nearly $100 for each Lead.           In addition to

    surpassing his spend ceiling of $400 a month by charging him almost $800 in a single month, the

    Home Service Professional immediately encountered a variety of systemic issues concerning the

    legitimacy and viability of the Leads upon activation of the service including, inter alia:

    disconnected phone numbers; duplicate Leads; Leads for services not performed by the Home

    Service Professional or outside the target geographic region; phone numbers that rang

    incessantly before disconnecting; and Leads claiming that they never submitted a request through

    HomeAdvisor’s website.

             183.   The Home Service Professional credit requests for bogus Leads were routinely

    denied. HomeAdvisor even implemented an ad hoc policy requiring the Service Professional to

    submit credit requests within 24 hours which violated HomeAdvisor’s Lead Credit Guidelines

    which state that, “[c]redits must be requested…within 30 days of the date that the charge was

    incurred.” See https://pro.homeadvisor.com/terms/lead-credit-guidelines/ (Last visited 11/2/16).

             184.   After being charged nearly $2,000 for the service within just four months the

    Home Service Professional froze his Lead generation service and will not renew his membership

    with HomeAdvisor.


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             TEXAS

             185.   In October 2016, a master carpenter operating out of a small town in Texas signed

    up for a Pro ConnectTM membership with HomeAdvisor with the expectation that he would

    receive qualified Leads from project-ready homeowners.

             186.   Within the first day of signing up for the service, the Home Service Professional

    received four Leads for $60-$80 each. When he contacted the Homeowners, all four claimed to

    have never heard of HomeAdvisor. The Home Service Professional received another Lead

    which he followed up with several times before the Homeowner informed him that he did not

    know anything about a service request and had no pending home projects that would require the

    Home Service Professional’s expertise. Another Lead the Home Service Professional contacted

    told him that the project was completed by Lowe’s six weeks earlier.

             187.   The Home Service Professional received a total of 8 unqualified Leads. He

    immediately terminated his HomeAdvisor membership and submitted a fraud claim to his bank.

             VIRGINIA

             188.   A Virginia based kitchen and bathroom remodeling Home Service Professional in

    the Virginia Beach region signed up with HomeAdvisor in December 2015 and paid $347.98 for

    a HomeAdvisor Pro ConnectTM annual Membership. Based upon the representations made over

    the phone by the HomeAdvisor sales consultant during the sign up process, the Home Service

    Professional believed he was paying for a Lead generation service that would supply him Leads

    from targeted, serious, qualified and project-ready Homeowners in his service area.

    Unbeknownst to him, the Pro ConnectTM membership also automatically enrolled him in

    mHelpDesk, a cloud-based software program for $99.99 a month after the first month.


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             189.   Within ten days the Home Service Professional received ten leads and was

    charged more than $700 for the Leads. Below is an accurate summary of the issues concerning

    the legitimacy and viability of the Leads supplied to the Home Service Professional by

    HomeAdvisor.




             190.   The images below appeared in the property listing which showcased a newly

    remolded kitchen for which the Service Professional was charged $94.56.




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             191.   Over the course of the ten days the Service Professional was charged over $700

    for ten Leads, none of which were qualified business opportunities from project-ready

    homeowners. The Service Professional demanded refunds for the bad Leads, but was initially

    only offered one “credit” for the Lead that had a disconnected phone number because his account

    manager stated that the other scenarios were not eligible for Lead credits.

             192.   The Home Service Professional threatened to cancel his service and file a formal

    complaint with the Federal Trade Commission because he was charged over $700 for invalid,

    bogus Leads – the Service Professional did not secure a single job from the Leads, let alone even

    have an opportunity to submit a proposal for a job. The Home Service Professional’s persistent

    demands for a full refund were escalated and eventually he was fully reimbursed for all nine of

    the unqualified Leads. He did not cancel his HomeAdvisor account, which will expire in

    December 2016, since he paid in full, the non-fundable fee of $347.98 for the annual

    Membership. But, to prevent further charges, the Lead generation service was frozen and will

    remain deactivated, and mHelpDesk service was discontinued.              Had the Home Service

    Professional known the true nature and quality of the Membership Program and Leads, he would

    not have signed up and paid for the Membership Program.

             Online Complaints Lodged by Home Service Professionals

             193.   In addition to the direct testimonials provided by Home Service Professionals, the

    complaints lodged by Home Service Professionals on consumer complaint blogs are profuse and

    consistent, in their experiences and that the Leads they were charged for are illusory, not as

    advertised and generated from unqualified and unsuspecting prospects (just like in Mr.

    Johansen’s situation).


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             194.   This Home Service Professional’s experience, posted on “Complaints List”,

    http://www.complaintslist.com/2015/stay-away-from-home-advisors/ (last visited 11/10/2016),

    precisely summarizes Defendants’ fraudulent scheme. The Home Service Professional from

    California stated that HomeAdvisor is an “unethical company” that uses “guerilla sales tactics”

    and “continuous badgering”, “pressuring contractors in to considering the service and then

    blatantly lying to them so they sign up”. When the Home Service Professional cancelled his

    membership within six days of signing up, not only was his request for a refund denied, but

    HomeAdvisor threatened to send him to collections.




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             195.   This contractor posted his experience to HomeAdvisor’s Facebook page “Visitor

    Posts” from June 29, 2016, highlighting that the Leads had bad phone numbers and fake emails,

    and when he stopped the automatic payment for Leads, HomeAdvisor contacted him and told

    him that qualifying Leads before charging Home Service Professionals did not “work out” for

    HomeAdvisor:




             196.   Similarly, the following Home Service Professional identified on “Complaints

    List”, http://www.complaintslist.com/2013/home-advisor-bogus-leads/ (last visited 7/1/2016),

    that the Leads he received were for a non-existent Homeowner, for an address that did not exist,

    and for phone numbers that did not work:




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             197.   This Home Service Professional identified that he spent $3,000 for very bad

    Leads (“Complaints List”, http://www.complaintslist.com/2016/home-advisor-is-a-scam/ (last

    visited 7/1/2016)):




             198.   A Home Service Professional posted on “Pissed Consumer” (March 4, 2016,

    http://homeadvisor.pissedconsumer.com/deceitful-sales-pitch-false-leads-huge-waste-of-money-

    20160304803113.html (last visited 7/1/2016)), noting that the Leads had false information,

    including incorrect phone numbers and a project for tree trimming, when the Home Service

    Professional provides home remodeling services:




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             199.   Another Home Service Professional confirmed the bogus nature of the Leads on

    “ResellerRatings”, http://www.resellerratings.com/store/HomeAdvisor (last visited 7/1/2016):




             200.   During the relatively brief time this litigation has been pending, Plaintiffs’

    Counsel have received communications from over 120 former and current Home Service

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    Professionals who have conveyed similar experiences they have had with HomeAdvisor and its

    employees. Without exception, the vignettes Plaintiffs’ Counsel have been given are consistent

    with the detailed allegations contained supra, thereby supporting the conclusion that Defendants’

    conduct is systemic and pervasive with respect to Home Advisor’s operations. See supra ¶¶ 152-

    193.

             201.   Likewise, former and current Home Service Professionals victimized by

    Defendants’ practices have also submitted a plethora of complaints to the Better Business Bureau

    (“BBB”); however, HomeAdvisor maintains an A+ rating.               Former Employee A almost

    exclusively dealt with complaints that had been filed with the BBB. Former Employee A

    confirmed that HomeAdvisor could retain its positive rating as long as HomeAdvisor could

    prove that it affirmatively reached out to complainants in an attempt to resolve the issue(s), but a

    resolution is not required to close a complaint.

             202.   As of November 8, 2016, HomeAdvisor closed 966 complaints with the Better

    Business Bureau in 3 months, including 435 complaints in just the last 12 months. Below is

    HomeAdvisor’s BBB complaint type summary:




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    See http://www.bbb.org/denver/business-reviews/referral-contractor/homeadvisor-in-lakewood-
    co-22000608/complaints (last visited 11/8/2016).

             203.   The BBB’s resolution policy permits HomeAdvisor to superficially mask the true

    nature of its business.    HomeAdvisor’s BBB A+ rating not only starkly contradicts the

    complaints submitted to the BBB, but also the customer reviews.

             204.   Since January 2014, 157 customers (72.0%) have reported a negative experience

    with HomeAdvisor, whereas only 58 customers (26.7%) have reported a positive experience with

    HomeAdvisor during that same time.         Below is HomeAdvisor’s BBB customer reviews

    summary:




    See http://www.bbb.org/denver/business-reviews/referral-contractor/homeadvisor-in-lakewood-
    co-22000608/customer-reviews (last visited 11/8/2016).




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             D.      The Homeowners Confirm the Fraud.

             205.    Persons who are on the recipients of the calls from unsuspecting Home Service

    Professionals have also spoken out about the bogus nature of the Leads and their statements

    confirm that the Leads are unvetted and not as represented.

             206.    As alleged supra, one of the “Leads”, Mr. Johansen had twice previously sued

    HomeAdvisor for calls made to him by third parties that engage in telemarketing to obtain new

    clients—once in September of 2014, and another lawsuit was filed in December of 2014. The

    Johansen Action alleges that HomeAdvisor and One Planet violated the TCPA by placing

    telemarketing calls to a telephone number Mr. Johansen and others of a purported class of

    persons had registered on the National Do Not Call Registry for the purposes of advertising the

    services and securing new business for HomeAdvisor.

             207.    Similarly, Homeowners have conveyed specific details concerning their

    experience as recipients of calls from Home Service Professionals that confirms the nature of the

    Leads as unvetted. The invasive and widespread impact of the sham Lead generation and sham

    Leads are highlighted by the following posts:

                  (a) A July 6, 2016 post by a Homeowner highlights issues with the Leads being

                     outside of the Home Service Professionals’ geographic reach:




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                    See http://www.handymanstartup.com/home-advisor-pro-review-what-you-need-

                    to-know/ (last visited 11/8/2016).

                 (b) A post to HomeAdvisor’s Facebook page “Visitor Posts” on June 29, 2016

                    highlights that Home Service Professionals on the east coast were calling a

                    “Lead” located on the west coast, who was not even a homeowner looking for any

                    service from Home Service Professionals:




                 (c) From “Complaints List”, http://www.complaintslist.com/staffing/home-advisor/

                    (last visited 11/8/2016).




                 (d) From “Complaints List”, http://www.complaintslist.com/staffing/home-advisor/

                    (last visited 11/8/2016).




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             208.   Even Homeowners who previously utilized HomeAdvisor to locate Home Service

    Professionals are victimized by the HomeAdvisor’s practices.        The following posts from

    Homeowners describe circumstances in which they continue to receive unwanted calls, even

    months after submitting a service request, or when just visiting HomeAdvisor’s website:

                 (a) From “Trust Pilot” on October 27, 2016,

                    https://www.trustpilot.com/review/www.homeadvisor.com?stars=1&stars=2&star

                    s=3&page=7 (last visited 11/8/2016).




                 (b) From “Trust Pilot” on March 2, 2016,

                    https://www.trustpilot.com/review/www.homeadvisor.com?stars=1&stars=3&pag

                    e=4 (last visited 11/8/2016).




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    VI.      HOW HOME SERVICE PROFESSIONALS ARE SOLD THE SHAM PRODUCT.

             209.   How does such an inherently defective and worthless product get sold?

    HomeAdvisor sells its Membership Programs to Home Service Professionals over the phone

    through a massive and growing salesforce. Sales of Membership Programs are not completed

    on-line. Home Service Professionals do not execute any written contract or written agreement

    with Defendants. Once Defendants secure a payment source (credit card or debit account

    number) from the Home Service Professional, the Membership Program fee is charged or

    debited, and the Lead referrals and fee payments begin.

             210.   The most commonly employed form of solicitation of the Home Service

    Professionals is proactive cold calling by Defendants’ salesforce. The salesforce uses search

    engine marketing, trade associations and affiliate marketing channels to identify potential

    Service Professionals, including, inter alia, local plumbers, painters, electricians, handymen, and

    home improvement and maintenance personnel.

             211.   Defendants’ salesforce contacts prospective Home Service Professionals directly,

    often relentlessly, to solicit participation in Membership Programs that include ProLeadsTM and

    enroll them over the phone in one of the three Membership Programs. The persistent sales

    tactics employed by Defendants’ salesforce often becomes aggressive. In several instances, the

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    sales consultants have even threatened to harm prospective Home Service Professionals’

    reputations via the posting of baseless, bad reviews if they refused to join HomeAdvisor.

             212.   Defendants deceive Home Service Professionals by failing to disclose the true

    nature of its business, services and Leads. For Defendants, it appears to be a volume business –

    get the fee for the Membership Program and push out and charge for as many Leads as possible

    before the Home Service Professional tries to cancel.

             213.   Defendants’ former employees have revealed how the HomeAdvisor service was

    sold to Home Service Professionals. Their testimonials are further corroboration of Defendants’

    practice to generate revenue from signing up paying Home Service Professionals,

    notwithstanding Defendants’ failure to be able to provide the product being sold, the Leads.

             214.   By all accounts, HomeAdvisor employs and encourages aggressive, deceptive and

    fraudulent sales practices in furtherance of Defendants’ sole objective to exponentially grow the

    number of paying Service Professionals within its network and generate revenue from Lead fees.

             215.   To achieve Defendants’ goals, HomeAdvisor generally conducts orientations for

    training classes comprised of 10-person teams every couple of weeks. During the two-week

    training sessions, new sales representatives are briefly educated about HomeAdvisor’s product,

    but primarily focus on the sales pitch and overcoming objections. Once on the sales floor, to be

    eligible for commissions, sales representatives must sign up a minimum of 3-5 Service

    Professionals a week by dialing 150-200 prospects a day and logging 3-5 hours of minimum talk

    time a day.

             216.   As described by Former Employees B and D, contact information for prospective

    Home Service Professionals could be acquired through three sources: (1) independent


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    identification (e.g., phonebook, internet searches, etc.); (2) “phone-in” inquiries from interested

    Service Professionals, which were referred to internally as “Hot Leads”, but these Leads were

    supplied exclusively HomeAdvisor’s top sales representatives, or; (3) most commonly,

    HomeAdvisor’s algorithm-generated prospect list.

             217.   When HomeAdvisor sales representatives successfully contact prospective Home

    Service Professionals a formulaic sales process, based upon the four-page script provided during

    training, ensues. The sales process consists of the following four steps that are exclusively

    executed over the phone, often on recorded lines: Step #1 – Intro; Step #2 – Questions with a

    Purpose; Step #3 – Presentation; and Step #4 – Close. According to Former Employees B and D,

    sales representatives would identify the prospect’s area of expertise, review license requirements,

    describe how the prospect would benefit from the service, complete the application (e.g.,

    background check), build the Home Service Professional’s profile, and process the payment. All

    the former sales representatives unanimously confirmed that Home Service Professionals do not

    execute any written contract or written agreement with Defendants.           Also, no terms and

    conditions are recited and no copy of the terms and conditions are issued prior to signing up for

    the HomeAdvisor membership. Once Defendants secure a payment source (credit card or debit

    account number) from the Home Service Professional, the Membership Program fee is charged

    or debited, and the Lead referrals and fee payments begin.

             218.   Although there was a script, sales representatives, as stated by Former Employee

    C, “were encouraged to deviate from the script”, and “there was a lot of discretion as to what

    could be said to Service Professionals”, according to Former Employee D. Sales representatives




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    routinely recited and guaranteed the following selling points, as confirmed by Former employees

    D and E:

                    •   Leads are qualified, project-ready, serious homeowners that submitted service

                        requests through HomeAdvisor’s website;

                    •   There is no contract and that the service can be cancelled at any time;

                    •   The Home Service Professional will speak to the homeowner or decision maker

                        of the residence and not a renter;

                    •   The address is for an actual residence;

                    •   The Leads will meet the Home Service Professional’s profile criteria; and,

                    •   The Home Service Professional will have full control over the lead flow and

                        ability to monitor costs.

             219.       All the former sales representatives acknowledged that many sales representatives

    went well beyond stating the above, which in fact were not actual guarantees that HomeAdvisor

    consistently honored.        In fact, sales representatives were trained and encouraged to make

    selective omissions, and over-extend promises about the quality of the service and

    HomeAdvisor’s lenient credit policy.

             220.       At the outset, HomeAdvisor sales representatives were incentivized to manipulate

    Service Professionals’ Lead criteria in order to bypass certain internal systems and increase the

    profitability of the sale. This scheme was designed to bestow significant financial benefits upon

    Defendants to the detriment of the Plaintiffs and the Class.

             221.       According to Former Employee B and C, in order to sell the Lead generation

    services to a prospect, the sales software required there to be a minimum number of Leads

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    available in the Home Service Professional’s selected service area. If there were not enough

    Leads that met the Home Service Professional’s criteria, sales managers pressured sales

    representatives to disregard the Home Service Professional’s specified criteria by expanding the

    target geographic region (e.g., increase the Home Service Professional’s desired service area

    from 20 miles to 100 miles) or supplement the Home Service Professional’s list of services

    offered, for jobs not performed by the Home Service Professional, until the Lead minimum was

    satisfied.

             222.   Former Employee B said that HomeAdvisor was “taking advantage of little

    contractors in the middle of nowhere” by adjusting criteria, unbeknownst to Service

    Professionals. In response to Former Employee C’s concern that Service Professionals would

    receive and be charged for Leads that did not match their criteria, his manager flippantly said,

    “Let the Service Professionals figure it out on their own and they can work it out with Customer

    Care.” As a result of internal manipulation, Plaintiffs and Class members were charged for the

    erroneous Leads that did not meet their specified criteria.

             223.   Defendants’ commission structure also encourages sales representatives to

    disregard Class members’ requests to terminate Memberships and/or freeze the Lead generation

    services. Based upon information provided by Former Employees C, D and E, a Service

    Professional’s Lead generation service must remain activated for the first 24-hours after

    purchasing a Membership Program in order for the sales representative to receive a commission

    on the membership. A retention bonus could then be earned by sales representatives for Home

    Service Professionals that kept their Leads activated for the first month of the membership.




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    Moreover, sales representatives were also eligible for a residual commission for Home Service

    Professionals who kept the Lead service activated for a majority of the membership.

             224.   This commission structure incentivizes sales representatives to hinder Home

    Service Professionals’ abilities to terminate the service and/or deactivate the Lead generation

    services. Former Employee C offered an example of such an occurrence when he received a

    voicemail, the day before he left for vacation, from a newly signed up Home Service

    Professional that wished to terminate her Membership. Since she was calling to cancel the

    Membership within 72 hours of signing up, she was entitled to be reimbursed the Membership

    fee. Rather than process this request and lose a sale for HomeAdvisor and lose commission for

    the sales representative, Former Employee C’s sales manager advised, “[Bleep] it bro. You’re

    on vacation. Forget about it, and say you didn’t get the voicemail before you left.” Since the

    Service Professional’s membership cancellation request was not processed within 72 hours, she

    was not entitled to reimbursement of the membership fee. The below post by a Home Service

    Professional from April 4, 2016 describes similar treatment:




    See http://www.complaintsboard.com/complaints/home-advisor-service-magic-scam-

    c639368.html (last visited 11/9/2016).



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             225.   The former sales representatives uniformly agreed that they often believed that

    they could not ethically sell the service to prospective Home Service Professionals. Former

    Employee D said, “If I told Service Professionals the truth about the service they would often

    decline the service.” As a result, Former Employee D was criticized by her sales manager for

    allegedly talking prospective Home Service Professionals out of the service by over educating

    them about the service and warning them about the potential to overdraw accounts. Former

    Employee D was coached to talk less about the service, be more aggressive, and close deals more

    quickly. Former Employee B was also coached to talk less about the product and she was

    instructed never to let a prospect off the phone before processing the payment.           Former

    Employee B’s sales manager would say, “Slam them. Get their credit card and get that payment.”

             226.   The use of coercive sales tactics was not uncommon. According to Former

    Employee B, “it was unbelievable how we would bully the contractors to sign them up. I would

    constantly hear sales reps beating them [prospective Service Professionals] up over the phone.

    Sales reps would belittle the contractors and tell them if they don’t sign up that they were going

    to be out of business.”

             227.   This is consistent with contractors’ accounts. An owner of a painting company in

    Michigan stated the following: “I keep getting calls from home advisor. I have politely declined

    their service. The last call I received from them the guy got rude and threatened to put me out of

    business by contacting all my competition because I would not sign up.” [sic].

             228.   These sales practices were employed with the full knowledge, and at the direction,

    of the individuals tasked with running HomeAdvisor’s sales force. According to Former

    Employee E, even the Vice President of Sales was aware of how sales were being conducted, but


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    no action was taken. Former Employee C said that Vice President of Sales was fond of saying,

    “we aren’t a sale at any cost type of organization”; although that is exactly the type of

    organization HomeAdvisor is, according to the former sales representatives.           An author

    identified as a former HomeAdvisor sales employee had the following to say: “Brad Foster is the

    VP of Denver Sales and he encourages an environment to where his managers [ ] will train the

    new employees to LIE to contractors just to get a sale…I have personally heard [Brad] say things

    like, ‘I do not care if they get fired, we have new training classes every 2 weeks.” [sic]. See

    supra ¶122.

             229.   The expendability of HomeAdvisor’s sales representatives was known by the

    former employees. According to the former sales representatives, job security was continually

    threatened and used as motivation to execute more sales. Former Employee B said, “It’s a

    horrific environment. We were treated like expendable pieces of crap.”

             230.   The sales goals and commission structure, coupled with HomeAdvisor’s high-

    pressure threats, fostered a sales culture that induced unlawful and wrongful business practices.

    For example, Former Employee E said that other sales representatives could be overheard

    “blatantly lying to Service Professionals” just to make the sale. Similarly, Former Employee B

    claimed that “the more crooked you are internally, the more they [management] will turn their

    head as long as you are making the sale.”

             231.   In addition, Defendants’ current and former employees have posted reviews on

    the job site Glassdoor.com that confirm HomeAdvisor’s aggressive sales culture, and deceptive

    and appalling sales practices to warn other prospective employees.




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              232.   For example, an author identified as a then-current HomeAdvisor sales employee

    advised: “You are expected to call 150+ people a day and sell them the first time you speak. If

    the contractors have legitimate reasons for not signing up, you need to push for it any ways

    [sic]”.




    See https://www.glassdoor.com/Reviews/HomeAdvisor-Reviews-
    E11291_P18.htm?sort.sortType=OR&sort.ascending=false (Last visited 7/14/2016).

              233.   Another post by an author identified as a then-current HomeAdvisor sales

    representative states: “If you don’t sell you’re fired. If you DO [sic] and the contractor decides

    to turn off their leads before 24 hours, you could get fired. You have to lie to contractors and tell

    the [sic] what they want To [sic] hear and not what will actually benefit them.”




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    See https://www.glassdoor.com/Reviews/HomeAdvisor-Reviews-
    E11291_P19.htm?sort.sortType=OR&sort.ascending=false (last visited 7/14/2016).

             234.   As a person identified as a then-current HomeAdvisor sales employee explained:

    “You’re taught and expected to bend and omit the truth. For example, you’re expected to tell

    every prospect that there are a certain amount of leads available in their city even though it’s

    usually not true.”




    See https://www.glassdoor.com/Reviews/HomeAdvisor-Reviews-
    E11291_P20.htm?sort.sortType=OR&sort.ascending=false (last visited 7/14/2016).




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             235.   A person identified as a former HomeAdvisor sales associate confirms the hide-

    the-ball tactics employed to get Home Service Professionals to hand over their payment

    information:    “The script that mgmt [sic] will give you (that you are pretty much required to

    repeat word for word) includes common objections that contractors will give to buying a

    membership. These are VERY [sic] legitimate objections, like why we charge 3 contractors for

    the same job if only one of them gets it. You are taught to counter these objections with vague

    and borderline dishonest responses.”




                                               *        *     *




                                               *        *     *




    See https://www.glassdoor.com/Reviews/HomeAdvisor-Reviews-
    E11291_P21.htm?sort.sortType=OR&sort.ascending=false (last visited 7/14/2016).


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              236.   A former HomeAdvisor marketing associate offered this commentary about

    HomeAdvisor: “Unethical and unprofessional work environment. Sales reps are encouraged to

    stretch the truth to get one call closes. i.e. in weekly training meetings they will have you listen

    to a call from a top rep. you hear people stretching the truth all the time, and managers running

    the meeting just say ‘stay away from using that term, try this instead.’” [sic].




    See https://www.glassdoor.com/Reviews/HomeAdvisor-Reviews-
    E11291_P17.htm?sort.sortType=OR&sort.ascending=false (last visited 7/14/2016).

              237.   An author identified as a former HomeAdvisor inside sales representative

    commented on both the sales tactics and the Leads: “Not a lot of integrity across the org -- reps

    are incentivized to find loopholes and do whatever they can to make sale…Back-end ops cannot

    keep up with sales growth – product does take advantage of many of the client they purport to

    serve.”




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    See https://www.glassdoor.com/Reviews/HomeAdvisor-Reviews-E11291.htm               (last   visited
    11/2/2016).

             238.   As described in the below post by an author identified as a former HomeAdvisor

    sales consultant: “Sales is told to sell by revenue target -- leads pour into customers account--

    credit card automatically charged.        Customer has no recourse-sales reps fired for

    mispractice.” [sic]. (emphasis added).




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    See https://www.glassdoor.com/Reviews/HomeAdvisor-Reviews-
    E11291_P18.htm?sort.sortType=OR&sort.ascending=false (last visited 7/14/2016).

             239.   This author, identified as a former HomeAdvisor sales representative, summed it

    up as follows: “Worst place I ever worked, great place if you have no soul and love to rip off

    people.”




    See https://www.glassdoor.com/Reviews/HomeAdvisor-Reviews-
    E11291_P20.htm?sort.sortType=OR&sort.ascending=false (last visited 7/14/2016).


    VII.     DEFENDANTS DENY REFUNDS AND/OR LEAD CREDITS AND UTILIZE
             COLLECTION AGENCIES TO CONTINUE THE FRAUD ON HOME SERVICE
             PROFESSIONALS.

             240.   HomeAdvisor adopted uniform internal procedures intended to deny and

    discourage refunds and/or Lead credits when Home Service Professionals sought reimbursement

    for bogus Leads.

             241.   Former Employee A, the customer service manager, stated that the customer

    service team does not review or verify the validity of individual Lead credit requests from Home

    Service Professionals. Rather, customer service representatives would simply review the Home

    Service Professional’s account to determine how many Lead credit requests had been submitted.




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             242.   If the Home Service Professional had requested Lead credits for more than 15%

    of his or her total Leads received, HomeAdvisor’s standard protocol mandates automatic denial

    of the Lead credit request. Moreover, HomeAdvisor incentives customer service representatives

    to arbitrarily process Lead credit requests since the compensation structure for customer service

    representatives is dictated by the quantity of Lead credit requests processed, absent any quality

    assurance measures.

             243.   According to this Home Service Professional’s post on “Complaints List”,

    http://www.complaintslist.com/2013/home-advisor-pro-prev-service-magic-is-scams-contractors/

    (last visited 11/10/16), when his credit requests for “bogus leads” were denied, the customer

    service representative shared that HomeAdvisor receives “over 150,000 credit requests a

    month.” (emphasis added).




             244.   Furthermore, HomeAdvisor implemented discriminatory practices that favored

    Home Service Professionals that were more lucrative for HomeAdvisor. According to Employee

    E, it was known on the sales floor that the issuance of Lead credits was influenced by the size of

    the Home Service Professional’s account with HomeAdvisor. The former sales representative

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    said, “The more the Service Professional spent with HomeAdvisor, the more likely

    HomeAdvisor would issue a Lead credit.”

             245.   Former Employee A confirmed that this precise practice is executed through

    HomeAdvisor’s “Executive Program.”         The top 10% of HomeAdvisor’s Home Service

    Professionals, which are categorically larger companies, qualify for the Executive Program

    which is “much more lenient” in issuing Lead credits.

             246.   Defendants’ arbitrary, unsubstantiated and biased review process prevents and

    denies Home Service Professionals credits and/or refunds that they are rightfully entitled to

    receive.

             247.   When Home Service Professionals try to put an end to the scam, including by

    trying to stop their bank accounts from being completely depleted by the Defendants’ charges for

    bogus Leads, Defendants send the Home Service Professionals to collection agencies.

             248.   Defendants have associated at least with CMI Credit Mediators, Inc.

    (https://www.cmiweb.com/) and McCarthy, Burgess & Wolff (http://www.mbandw.com/) which

    have sought to collect monies from Home Service Professionals for the bogus Leads.

             249.   The following statements from Home Service Professionals confirm the heavy

    handed and improper tactics taken by Defendants in sending the Home Service Professionals to

    collection agencies.

                 (a) In June 2016, a construction contractor from Florida was persuaded by a

                    HomeAdvisor sales representative that a Pro ConnectTM membership would help

                    market and grow his small business. At no time did the sales representative

                    inform him that he would be charged for each individual Lead. Once he was


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                    registered, his account was “immediately flooded with Leads.” He estimates that

                    he received as many as 20 Leads the first day. Within two weeks, HomeAdvisor

                    had billed the Home Services Professional over $4,400.       The Home Service

                    Professional tried to dispute the charge with his credit card company, but

                    HomeAdvisor sent him to collections for a total of $5,800.

                 (b) A commercial and residential HVAC contractor from Colorado said, “I have tried

                    to cancel my account numerous times and they keep "reopening". I have since

                    canceled my credit card and they've sent my returned charges to collections.”

                    [sic].

                 (c) A Home Service Professional from California that signed up in April 2016 “was

                    told that the leads would cost anywhere between $45 to $50 dollars, but actually

                    each fee was $90.” After 30 days, the Home Service Professional requested to

                    cancel his membership because the Leads did not seem legitimate. But by August,

                    the former Home Service Professional received another bill from HomeAdvisor

                    for over $700.00 in Lead fees and was sent to collections.

             250.   Unless stopped, Defendants have been and will continue to initiate and proceed

    with improper collection actions against Class Members to collect the fees and costs wrongly

    imposed on Home Service Professionals.

    VIII. DEFENDANTS CONTINUE TO DEFRAUD HOME SERVICE PROFESSIONALS
          USING EXACT MATCH LISTINGS POST-MEMBERSHIP.

             251.   HomeAdvisor’s fraudulent and deceptive conduct persists, through the

    manipulation of Exact Match listings, even after Home Service Professionals terminate their

    relationship with HomeAdvisor and affirmatively leave the HomeAdvisor network.

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           252.     HomeAdvisor characterizes Exact Match listings as a free customized online

  profile used to promote the Home Service Professional’s business online by getting their “name

  out    there     on   the   most   searched   internet   sites   and    business   directories.”    See

  https://www.homeadvisor.com/rfs/enroll/spPostEnrollLeadsDetails.jsp (last visited 11/3/2016).

  Home Service Professionals provide HomeAdvisor the content for the listing (including the

  business logo, description and contact information), but HomeAdvisor replaces the Home

  Service Professional’s phone number with a HomeAdvisor telephone number. By doing such,

  HomeAdvisor intercepts calls from Homeowners in order to generate Exact Match Leads, which

  are then distributed at a premium Lead fee charge to the requested Home Service Professional or

  others in the HomeAdvisor network, according to HomeAdvisor’s guidelines.

           253.     Active Home Service Professionals are misled as to the nuances of this service

  and HomeAdvisor, at its discretion, violates the terms of the service by distributing and charging

  several Home Service Professionals for Exact Match Leads. For instance, when an active Home

  Service Professional is not accepting Leads, HomeAdvisor will redistribute the Exact Match

  generated Lead to competitors that are accepting Leads, but HomeAdvisor continues to charge

  the premium Lead fee even though the Homeowner did not specifically request to be contacted

  by the other Home Service Professionals. The impact of these practices is highlighted by the

  following posts:

                 (a) From      Consumer         Affairs      on          September      25,          2014,

                    https://www.consumeraffairs.com/homeowners/homeadvisor.html?page=182 (last

                    visited 11/9/2016).




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               (b) From      “Pissed       Consumer”         on     June       26,      2013,

                  https://homeadvisor.pissedconsumer.com/what-a-scam-home-advisor-is-

                  20130626423527.html (last visited 11/9/2016).




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               (c) From      “Handyman         Startup”   on     November        12,     2013,

                  http://www.handymanstartup.com/home-advisor-pro-review-what-you-need-to-

                  know/ (last visited 11/9/2016).




           254.   Furthermore, when Home Service Professionals terminate and/or do not renew

  their membership, HomeAdvisor does not remove the Home Service Professional’s Exact Match

  listing within a reasonable amount of time from its affiliate websites. According to Former

  Employee A, former Home Service Professionals’ listings would often remain active for 300-500

  days post termination. During such time, HomeAdvisor would continue fielding proactive phone

  calls from Homeowners seeking to contact the Home Service Professional on the listing. Since

  that Home Service Professional was no longer active, HomeAdvisor distribute and charge other

  active Home Service Professionals for Exact Match Lead. In just one month, the Exact Match

  Leads generated from former Home Service Professionals’ listings resulted in $22,000 in

  revenue for HomeAdvisor, according to Former Employee A.




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           255.    Defendants’ deceptive conduct constitutes theft of business opportunities, false

  advertising, and commercial impersonation of former Home Service Professionals which is

  wantonly executed with the objective to bestow significant financial benefits upon Defendants.

                                  CLASS ACTION ALLEGATIONS

           256.    Plaintiffs reallege and incorporate by reference the allegations set forth in each of

  the preceding paragraphs of this Amended Complaint.

           257.    Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

  Procedure 23, on behalf of themselves and all other members of the Class. The proposed Class

  is defined as:

                   All persons who, since October 1, 2012, paid for a HomeAdvisor home service
                   professional membership (including for HomeAdvisor’s Pro ConnectTM, Total
                   ConnectTM, and/or for the predecessor or subsequent HomeAdvisor home service
                   professional membership programs), and paid for homeowner contact and
                   service requests (“Leads”) and/or mHelpDesk.


           258.    Plaintiffs reserve the right to modify or amend the definition of the proposed

  Class before the Court determines whether certification is appropriate. Excluded from the Class

  are: Defendants, any entity in which any Defendant has a controlling interest, and each

  Defendant’s officers, directors, affiliates, legal representatives, employees, co-conspirators,

  successors, subsidiaries, and assigns; governmental entities; and, any judge or magistrate

  presiding over this action, as well as their immediate family members.

           259.    Defendants’ practices and omissions were applied uniformly to all members of

  the Class, so that the questions of law and fact are common to all members of the Class.




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           260.   All members of the Class were and are similarly affected by the wrongful and

  deceptive practices of Defendants, and the relief sought herein is for the benefit of Plaintiffs and

  members of the Class.

           261.   All members of the Class similarly relied on Defendants’ deceptive

  representations and practices and such reliance resulted in harm to each Class Member.

           262.   Based on Defendants’ public statements, it is apparent that the Class consists of

  many thousands of members, the identities and contact information of whom is readily

  ascertainable from HomeAdvisor’s records, therefore rendering joinder impractical and

  impossible.

           263.   Questions of law and fact common to the Plaintiffs and Class exist that

  predominate over the questions affecting only individual members of the Class. The common

  legal and factual questions include, inter alia:

                  (a) Whether Defendants employed a deceptive course of conduct of charging

                     members of the Class for Leads that were not qualified business opportunities,

                     qualified, targeted, serious, or from project-ready Homeowners.

                  (b) Whether Defendants concealed material information about the nature, quality

                     and source of the Leads and the HomeAdvisor services charged to Home

                     Service Professionals.

                  (c) Whether Defendants used systemically flawed and deficient processes to

                     generate Leads that were not of the nature and quality of the Leads advertised.




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               (d) Whether Defendants sent to and charged the Home Service Professionals for

                  Leads that were not targeted, and not from serious, qualified or project ready

                  Homeowners.

               (e) Whether Defendants charged the Home Service Professionals for Leads that

                  were not qualified business opportunities.

               (f) Whether Defendants charged Plaintiffs and the members of the Class for

                  Leads that were sent to more than four Home Service Professionals.

               (g) Whether Defendants charged Home Service Professionals for mHelpDesk

                  without knowledge or consent of the Home Service Professionals.

               (h) Whether Defendants systemically disregarded the parameters and limits

                  placed by Home Service Professionals on the type and number of Leads to be

                  charged to Home Service Professionals.

               (i) Whether Defendants employed tactics that prevent and prevented Home

                  Service Professionals from cancelling their membership and receipt of Leads,

                  and from disputing the propriety of Leads in order to try to secure a refund.

               (j) Whether the conduct alleged herein is in violation of Colorado’s Consumer

                  Protection Act.

               (k) The amount of revenues and profits Defendants received and/or the amount of

                  monies imposed on or lost by the members of the Class as a result of

                  Defendants’ conduct.




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                  (l) Whether the members of the Class are threatened with irreparable harm and/or

                     are entitled to injunctive and other equitable relief and, if so, what is the

                     nature of such relief.

                  (m) Whether the members of the Class are entitled to payment of damages plus

                     interest thereon.

           264.   The claims asserted by Plaintiffs in this action are typical of the claims of the

  members of the Class, as the claims arise out of the same wrongful and unlawful course of

  conduct by Defendants, including Defendants’ deceitful business practices with respect to the

  HomeAdvisor Leads and its membership services. Plaintiffs and the other members of the Class

  have sustained economic injuries arising from HomeAdvisor’s conduct, and the relief sought is

  common to each member of the Class.

           265.   Plaintiffs will fairly and adequately represent and protect the interests of the

  members of the Class, and do not have interests antagonistic to the interests of any other member

  of the Class.

           266.   Plaintiffs have retained counsel competent and experienced in the prosecution of

  class actions, in particular consumer protection class actions.

           267.   Certification of this class action is appropriate under Federal Rule of Civil

  Procedure 23 because questions of law or fact common to the respective members of the Class

  predominate over questions of law or fact affecting only individual members of the Class. This

  predominance makes class litigation under Fed. R. Civ. P. 23 superior to any other method

  available for a fair and efficient decree of the claims.




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           268.   A class action is superior to other available methods for the fair and efficient

  adjudication of this controversy. Plaintiffs and the members of the Class have all suffered and

  will continue to suffer harm and damages as a result of Defendants unlawful and wrongful

  conduct. Absent a class action, most members of the Class would likely find the cost of

  litigating their claims prohibitively high and would therefore have no effective remedy at law.

  Because of the relatively small size of the damages of each member of the Class, it is highly

  likely that Plaintiffs or any other member of the Class would be able to protect their own interest

  and afford to seek legal redress for Defendants’ misconduct, because the cost of litigation

  through individual lawsuits might exceed expected recovery. Therefore, absent a class action,

  members of the Class will continue to incur damages and Defendants’ misconduct will continue

  without remedy.

           269.   Certification also is appropriate because Defendants acted, or refused to act, on

  grounds generally applicable to the Plaintiffs and the Class, thereby making appropriate the relief

  sought on behalf of the Class as a whole. Further, given the large number of Home Service

  Professionals subscribed to HomeAdvisor, allowing individual actions to proceed in lieu of a

  class action would run the risk of yielding inconsistent and conflicting adjudications. Treatment

  of common questions of law and fact in this action is a superior method to multiple individual

  actions or piecemeal litigation in that class treatment will conserve the resources of the courts

  and the litigants, and will promote consistency and efficiency of adjudication.




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                                        CAUSES OF ACTION

                                     FIRST CAUSE OF ACTION

                  VIOLATIONS OF RACKETEER INFLUENCED AND CORRUPT
                         ORGANIZATIONS ACT, 18 U.S.C. § 1962(C)

           270.    Plaintiffs re-allege and incorporate by reference all allegations set forth in the

  preceding paragraphs.

           A.      RICO Enterprise

           271.    From at least October 1, 2012, to the present, the affiliation between IAC and

  HomeAdvisor constituted an enterprise. The RICO enterprise, which engaged in, and whose

  activities affected interstate and foreign commerce, was comprised of an association-in-fact of

  entities and individuals that included IAC, HomeAdvisor, along with several of their respective

  employees and officers, including, from IAC Barry Diller, Joseph Levin and Jeff Kipp and

  from HomeAdvisor Chris Terrill.

           272.    The association-in-fact enterprise also included the businesses and persons who

  sold leads to HomeAdvisor, including:

                (a) the Lead Generators, namely One Planet Ops, Inc., HomeImprovement.net

                   (owned by Global Ventures Network), Buyerlink and The Lead House, LLC, as

                   well as, on information and belief, Salesgenie, YOT7 Corp., LeadGenius, Inc.

                   and Leadspace, Inc., which entities are in the business of generating consumer

                   contact information for a variety of industries and selling or re-selling leads to

                   HomeAdvisor.

                (b) the Partner Affiliate Networks, namely, CJ Affiliate f/k/a Commission Junction

                   and Pepperjam, which are in the business of connecting “advertisers” like

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                  HomeAdvisor with “publishers” like bloggers and other businesses that then

                  promote HomeAdvisor on their websites and generate leads that are then sent to

                  HomeAdvisor in exchange for a payment.

               (c) the Affiliate Program Partners, which promote HomeAdvisor in various media,

                  including on their websites, to generate leads that are sent to HomeAdvisor in

                  exchange for a payment.

               (d) the Home Improvement Branded Affiliates, namely, established companies and

                  brands specifically in the home décor and home improvement business, including

                  BH&G, HGTV, BB&B and Wayfair, that generate leads for HomeAdvisor.




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              273.   The association-in-fact enterprise also includes the businesses and persons who

  IAC and HomeAdvisor utilize to collect monies from Home Service Professionals for the bogus

  Leads, including CMI Credit Mediators, Inc. and McCarthy, Burgess & Wolff, when Home

  Service Professionals try to put an end to the scam.

              274.   Defendants conducted and participated in the enterprise’s affairs through a pattern

  of racketeering activity consisting of numerous and repeated uses of the interstate mails and wire




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  communications to execute a scheme to defraud, all in violation of the Racketeer Influenced and

  Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1962 (c).

           275.   The members of the RICO enterprise all had a common purpose: to generate

  revenue through HomeAdvisor by signing up Home Service Professionals and collecting money

  from Home Service Professionals for sham Leads. The foregoing misconduct, as alleged supra,

  was done at Defendants’ direction and with Defendants’ full knowledge.

           276.   Moreover, the RICO enterprise was also forged by the relationships among those

  associated with it. As described supra, IAC and/or HomeAdvisor contracted with various third-

  parties that gathered and sold HomeAdvisor the sham Leads. IAC and HomeAdvisor purchased

  Leads that were not of the quality and nature represented to the Home Service Professionals and

  turned around and charged the Home Service Professionals for the Leads.

           277.   This RICO enterprise has remained in existence for several years, enabling its

  members to pursue the enterprise’s purpose. IAC and/or HomeAdvisor conducted and

  participated in the affairs of this RICO enterprise through a pattern of racketeering activity that

  began in at least 2012 and continues through the present and has consisted of hundreds of

  thousands (or millions) of acts of wire fraud under 18 U.S.C. § 1343.

           B.     Wire Fraud

           278.   As alleged supra, Defendants engaged in a scheme or artifice to defraud Home

  Service Professionals by charging them for a sham product, including bogus Leads.

           279.   Wire services, including internet, telephone and email were used in furtherance of

  the scheme. The use of the wire services to further the scheme was known Defendants and it was




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  reasonably foreseeable that wire services would be used for the purpose of signing up Home

  Service Professionals, collecting their payment information, and charging them for the Leads.

           280.   As described throughout this Amended Complaint, Defendants have repeatedly

  violated the federal wire fraud statutes, which have all occurred in the last few years, include:

               (e) Contacting Home Service Professionals about the HomeAdvisor products by

                  telephone, email and text messages;

               (f) Maintaining a website, Homeadvisor.com, that informed Home Service

                  Professionals about the Membership Programs and the Leads;

               (g) Collecting payment information from Home Service Professionals over the phone

                  and by email for Membership Program and Lead fees;

               (h) Sending the bogus Leads to the Home Service Professionals by email and text

                  message;

               (i) Charging Home Service Professionals’ credit cards, and deducting automatically

                  from Home Service Professionals’ bank accounts, fees and costs for bogus Leads,

                  mHelpdesk, and Membership Programs;

               (j) Providing over the phone and email, false information about the Leads to the

                  Home Service Professionals;

               (k) Use of websites and emails of Affiliate Program Partners and other third parties to

                  generate Leads that would be used in furtherance of the scheme.

               (l) Use of emails, phone and website to prevent Home Service Professionals from

                  cancelling their membership and Leads and from disputing the propriety of a Lead

                  in order to secure a refund; and,


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                (m) Communications with third-parties, including the members of the enterprise, with

                   respect to buying and bidding on the Leads through the internet and email.

           281.    As part of and in furtherance of the scheme to defraud, Defendants would receive

  documents and information by telephone and/or email from the Home Service Professionals with

  respect to the Membership Programs, mHelpdesk and the Leads.

           282.    As part of and in furtherance of the scheme to defraud, Defendants would

  intentionally misstate by telephone and/or email the nature and quality of the products for which

  the Home Service Professionals were charged.

           C.      Pattern of Racketeering

           283.    The thousands of violations constitute a pattern of racketeering. They are related

  in that they share the same purpose of defrauding Home Service Professionals and involve the

  same participants, victims, and methods of commission. And, because Defendants’ large-scale

  criminal activities occurred over a period of several years and are continuing unabated, they

  amount to or pose a threat of continued criminal activity.

           284.    Each of the Defendants associated with the RICO enterprise knew of the existence

  of the enterprise and its related activities. IAC, through its designated officers and employees,

  devised the scheme and coordinated with HomeAdvisor to carry it out. Defendants’ employees

  oversaw, directed, and managed various aspects of the scheme, including commanding that sales

  persons employ the unscrupulous methods alleged herein to retain and secure payment

  information from Home Service Professionals, and to misstate and omit material information

  about the Leads when communicating with Home Service Professionals.




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           285.   IAC and/or IAC and HomeAdvisor and their employees conducted and

  participated in the affairs of the RICO enterprise through a pattern of racketeering activity. The

  Defendants participated in the enterprise’s decision-making or were plainly integral to carrying

  out the scheme to defraud.

           286.   As part of their participation, Defendants knowingly and intentionally transmitted

  or caused to be sent, emailed, or transmitted fraudulent solicitations and information in interstate

  or foreign commerce. The fraudulent information constituted numerous and repeated violations

  of the federal wire fraud statutes in violation of 18 U.S.C. §§ 1341, 1343, as well as a pattern of

  racketeering activity in violation of 18 U.S.C. §§ 1961 (1), 1962 (c).

           287.   Defendants knew, or at a minimum were reckless in not knowing, that the

  information was misleading, deceptive, and/or false when transmitted.

           288.   Defendants’ conduct and pattern of racketeering activity foreseeably and

  proximately caused damages to Plaintiffs and to members of Class. Those damages include:

  wrongful payment for the Leads, the Membership Programs and mHelpDesk, and wrongful

  collection proceedings and harm to credit.

                         SECOND CAUSE OF ACTION
        VIOLATIONS OF COLORADO CONSUMER PROTECTION ACT ("CCPA"),
                      COLO. REV. STAT. § 6-1-101, ET SEQ.

           289.   Plaintiffs re-allege and incorporate by reference all allegations set forth in the

  preceding paragraphs.

           290.   Plaintiffs are informed and believe, and thereon allege, that Defendants engaged

  in extensive marketing, advertising and selling, including, but not limited to, electronic media,




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  television, internet and direct marketing through their agents, to promote and sell its Membership

  Programs and ProLeads.

           291.   Defendants characterized the Leads as: from targeted, serious, qualified and

  project ready Homeowners; qualified new business opportunities (Pro Leads) to keep your

  pipeline full; from ‘ready-to-buy’ customers; targeted prospects and highly targeted prospects;

  from project ready Homeowners; from Homeowners actively seeking the services; from

  qualified Homeowners; from serious Homeowners; and being sent only to up to four Home

  Service Professionals. See supra ¶¶ 62, 66-79. But, the Leads are not as Defendants represented

  or of the quality and nature of what Plaintiffs and the Class paid for because Defendants maintain

  and employ systemically flawed and deficient processes to generate Leads, and send and charge

  Home Service Professionals for Leads that were not of such nature and quality.

           292.   In addition, Defendants concealed and omitted material information about: (a) the

  Leads, including the true source and nature of the Leads, in that, inter alia, the Leads were

  generated through methods that could not and did not provide the Leads as advertised; and, (b)

  that substantial monthly fees would be charged to the Home Service Professionals for

  mHelpDesk.

           293.   Defendants also systemically disregarded the parameters and limits placed on the

  type and number of Leads to be charged to Home Service Professionals.

           294.   Defendants employed tactics that prevented or discouraged Home Service

  Professionals from cancelling their membership and Leads, and from disputing the propriety of a

  Lead in order to secure a refund.




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           295.   Defendants had knowledge that the Leads and their practices and services were

  contrary to what the Home Service Professionals had paid over $360 million for in 2015 alone.

           296.   Defendants’ failure to disclose and instead to conceal the foregoing facts was

  intended to and induced Plaintiffs and the members of the Class to pay millions of dollars for

  Membership Programs, Leads and mHelpDesk.

           297.   This cause of action is brought on behalf of Plaintiffs and all similarly situated

  members of the Class, pursuant to COLO. REV. STAT. § 6-1-105(e), (g), (i), (l), (n) and (u),

  which provide, in pertinent part, that “a person engages in a deceptive trade practice when, in the

  course of such person’s business, vocation, or occupation, such person —

                  *       *       *

               (e) Knowingly makes a false representation as to the characteristics, ingredients, uses,
               benefits, alterations, or quantities of goods, food, services, or property or a false
               representation as to the sponsorship, approval, status, affiliation, or connection of a
               person therewith;

                  *       *       *

               (g) Represents that goods, food, services, or property are of a particular standard,
               quality, or grade, or that goods are of a particular style or model, if he knows or
               should know that they are of another;

                  *       *       *

               (i) Advertises goods, services, or property with intent not to sell them as advertised;

                  *       *       *

               (l) Makes false or misleading statements of fact concerning the price of goods,
               services, or property or the reasons for, existence of, or amounts of price reductions;

                  *       *       *

               (n) Employs "bait and switch" advertising, which is advertising accompanied by an
               effort to sell goods, services, or property other than those advertised or on terms other

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               than those advertised and which is also accompanied by one or more of the following
               practices:

                          *      *       *

                                 (III) Requiring tie-in sales or other undisclosed conditions to be
                                 met prior to selling the advertised goods, property, or services;

                  *       *      *

               (u) Fails to disclose material information concerning goods, services, or property
               which information was known at the time of an advertisement or sale if such failure
               to disclose such information was intended to induce the consumer to enter into a
               transaction.

           298.   In addition, C.R.S. § 6-1-105(3) provides: “The deceptive trade practices listed in

  this section are in addition to and do not limit the types of unfair trade practices actionable at

  common law or under other statutes of this state.”

           299.   Defendants’ deceptive practices occurred in the course of Defendants’ business,

  vocation or occupation.

           300.   Defendants’ misconduct significantly impacts the public as actual or potential

  consumers of the Defendants’ services described herein. The deceptive marketing, advertising

  and selling through electronic media, television, internet and direct marketing were directed to

  the market generally resulting in deception of actual and prospective purchasers.

           301.   The wrongdoing alleged herein has a significant public impact. Among other

  things: as of December 31, 2015, HomeAdvisor’s network of Home Service Professionals

  consisted of approximately 102,000 paying Service Professionals in the United States, who

  provided services ranging from home repairs to larger home remodeling projects to thousands of

  Homeowners nationwide; IAC is a multi-billion dollar media and Internet company comprised

  of some of the world's most recognized brands and products, including HomeAdvisor, and as

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  such, is sophisticated and has superior bargaining power over the Service Professionals, as well

  as the Homeowners, who are affected by the deceptive and false practices challenged herein;

  and, the wrongdoing has impacted Service Professionals, causing them substantial monetary

  damages, and has the significant potential to do so in the future.

           302.   Defendants’ deceptive practices caused damage to Plaintiffs and all Class

  Members. Because of Defendants’ unfair, deceptive and fraudulent business practices, Plaintiffs

  and Class Members suffered and continue to suffer injuries by way of monetary loss.

           303.   In all respects, the foregoing constitutes deceptive trade practices by Defendants.

  Defendants committed deceptive acts ad practices, and omitted material information, which have

  a capacity, tendency, and/or likelihood to deceive or confuse reasonable Home Service

  Professionals in that such consumers had a good faith basis for believing that (a) the Leads were

  generated, marketed, distributed and charged to the Home Service Professionals in a reliable and

  honest manner; (b) they would not be charged for mHelpDesk; and (c) they would be able to

  control the Leads, as well as suspend or cancel receipt of and being charged for the Leads.

  Instead, Plaintiffs and the members of the Class were and were likely to be deceived by

  Defendants, as set forth herein.

           304.   Plaintiffs therefore seek an order of this Court:

                         (a) Enjoining Defendants from continuing to engage, use, or employ any

                  unfair and/or deceptive business acts or practices related to their marketing,

                  distribution, taking of monies for, and the management of Leads, Membership

                  Programs, mHelpDesk, Lead management, requests for refunds, and requests for




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                  suspension or cancellation of involvement in a Membership Program, Leads and

                  mHelpDesk, in such manner as set forth in detail above;

                          (b) Requiring Defendants to cease business practices that generate and

                  charge for unqualified Leads;

                          (d) Enjoining Defendants from representing that the Leads are qualified

                  and of similar nature and quality, when they are not;

                          (e) Requiring Defendants to cease charging for mHelpDesk without

                  written, clear confirmation of a Home Service Professional’s knowledge of the

                  service and attendant charges, and his/her/its acceptance of such service and

                  charges; and

                          (f)    Enjoining Defendants from initiating and proceeding with any

                  collection action against Plaintiffs and the members of the Class.

           305.   Plaintiffs and the members of the Class may be irreparably harmed and/or denied

  an effective and complete remedy if such an order is not granted. The unfair and/or deceptive

  acts and practices of Defendants, as described above, present a serious threat to Plaintiffs and the

  members of the Class.

                                     THIRD CAUSE OF ACTION
                                    Fraud/Fraudulent Concealment

           306.   Plaintiffs repeat, reallege, and incorporate by reference each of the foregoing

  allegations as though fully set forth herein.

           307.   Prior to Plaintiffs and the members of the Class buying one of the Membership

  Programs, Defendants represented that Leads were of a certain nature and quality. See supra ¶¶

  62, 66-79.

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           308.   Defendant knew that Plaintiffs and Class Members relied upon such material

  representations about the Leads, and Defendants made such material representations to induce

  Plaintiffs and members of the Class to act, i.e. to pay for a Membership Program to get access to

  the Leads. Moreover, to pay for the Leads, the Home Service Professionals were required to

  provide either a checking / savings account from which Defendants can automatically debit all

  Membership Fees and Lead fees, or a credit card on which Defendants can automatically charge

  such fees.      Then, on a weekly basis, Defendants automatically charged the Home Service

  Professionals for each Lead sent. The fee for each Lead is automatically charged to the Home

  Service Professionals’ credit card and/or debited from his/her/its debit account. Consequently,

  the viability, accuracy, seriousness, qualified nature and limited distribution of each Lead are

  material to the Home Service Professional.

           309.   The representations about the Leads and the omissions about the Leads were

  material to Plaintiffs, such that, had Plaintiffs known that the representations were false and

  Defendants had omitted material information, Plaintiffs would not have purchased a Membership

  Program and provided Defendants with the means to charge their credit card and/or debit their

  bank accounts.     But Plaintiffs did not know the true facts, and relied upon the material

  representations made by Defendants.

           310.   Defendants knew their statements were false, and intended that Plaintiffs and

  Class Members would rely upon the false representations.

           311.   Defendants concealed and failed to disclose to Plaintiffs and Class Members that,

  despite its affirmative representations about the services, including the Leads, it would charge




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  Plaintiffs and the Class for unqualified Leads and mHelpDesk. Defendants concealed these

  material facts with the intention that Plaintiffs and Class Members would act.

           312.   As a result of Defendants’ fraudulent representations and omissions, Plaintiffs and

  members of the Class were induced into the purchase of goods and/or services that they

  otherwise would not have purchased, or would have paid less, and have suffered injury, harm

  and damages as described herein.

                                   FOURTH CAUSE OF ACTION
                                     Breach of Implied Contract

           313.   Plaintiffs repeat, reallege and incorporate by reference each of the foregoing

  allegations as though fully set forth herein.

           314.   Plaintiffs and the members of the Class paid money to Defendants in exchange for

  Leads.

           315.   An implied contract was created between Defendants and the Home Service

  Professionals whereby Defendants were to acquire, generate and charge Plaintiffs and Home

  Service Professionals for Leads that were from targeted, serious, qualified and/or project-ready

  Homeowners.

           316.   The Plaintiffs and the members of the Class paid an annual fee to join a

  HomeAdvisor Membership Program and paid hundreds and thousands of dollars for Leads.

           317.   The Leads, as well as Defendants’ Lead generation process, however, are

  systemically flawed and Defendants do not and cannot generate Leads of targeted, serious,

  qualified and project-ready Homeowners.

           318.   The Leads were not of the nature and quality of the Leads that were required, yet

  Defendants sent to and charged the Home Service Professionals for such Leads. Defendants did

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  not generate Leads for the Home Services Professionals that were targeted and from serious,

  qualified or project-ready Homeowners. Also, Defendants charged Plaintiffs and the members of

  the Class for Leads that have been sent to more than four Home Service Professionals.

  Defendants also charged Home Service Professionals for mHelpDesk without knowledge or

  consent of the Home Service Professionals. Furthermore, Defendants systemically disregarded

  the parameters and limits placed on the type and number of Leads to be charged to Home Service

  Professionals. Finally, Defendants employed tactics that prevent Home Service Professionals

  from cancelling their membership and Leads, and from disputing the propriety of a Lead in order

  to secure a refund.

           319.   Accordingly, Defendants have breached the implied contract that was formed

  between them and Plaintiffs and the Class.

           320.   As a result, Plaintiffs and the members of the Class have been harmed and/or

  injured have incurred economic damages as a proximate and direct result of the breach by

  Defendants.

                                   FIFTH CAUSE OF ACTION
                                   Unjust Enrichment/Restitution

           321.   Plaintiffs repeat, reallege and incorporate by reference each of the foregoing

  allegations as though fully set forth herein.

           322.   As the intended and expected result of their conscious wrongdoing, Defendants

  have profited and benefited from Plaintiffs and the Class’ purchase of the Membership Programs

  and payment for the Leads and mHelpDesk.

           323.   Defendants have voluntarily accepted and retained these profits and benefits, with

  full knowledge and awareness that, as a result of Defendants’ misconduct alleged herein,

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  Plaintiffs and the Class were not receiving services of the quality, nature, fitness, or value that

  had been represented by Defendants, and that a reasonable consumer would expect.

           324.   Defendants have been unjustly enriched by their fraudulent and deceptive conduct

  and withholding of benefits to Plaintiffs and the Class, at the expense of these parties.

           325.   Equity and good conscience militate against permitting Defendants to retain these

  profits and benefits, and permitting Defendants to do so would be unjust and inequitable because

  of Defendants’ misrepresentations and misconduct against Plaintiffs and members of the Class,

  as alleged herein.

           326.   Because Defendants’ retention of the non-gratuitous benefit conferred upon it by

  Plaintiffs and the members of the Class is unjust and inequitable, Defendants must pay restitution

  to Plaintiffs and members of the Class, as ordered by the Court.

                                       PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs, individually on behalf of themselves and on behalf of

  members of the Class, respectfully request that this Court:

           a. Determine that the claims alleged herein may be maintained as a class action under

               Rule 23 of the Federal Rules of Civil Procedure, and issue an order certifying the

               Class;

           b. Appoint Plaintiffs as the representatives of the Class and their counsel as Class

               counsel;

           c. Award all actual, general, special, incidental, statutory, treble, punitive, and

               consequential damages to which Plaintiffs and Class Members are entitled;

           d. Award pre-judgment and post-judgment interest on such monetary relief;


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           e. Award injunctive relief is appropriate and necessary to remedy Defendants’ wrongful

               conduct and to prevent the wrongful conduct from continuing; and

           f. Award all other relief deemed appropriate by the Court.



                                            JURY DEMAND

           Plaintiffs demand a trial by jury for all claims asserted in this Complaint so triable.



  Dated: November 14, 2016                                By: __s/ Jeffrey M. Kendall_____
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on November 14, 2016, I electronically filed the foregoing AMENDED
  CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL with the Clerk of the
  Court using the CM/ECF system which will send notification of such filing to the following e-mail
  address:


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